        Case 3:12-cv-04854-LB       Document 204       Filed 09/29/17    Page 1 of 44



 1   CONSTANTINE CANNON LLP
     MATTHEW L. CANTOR (admitted phv)
 2   JEAN KIM (admitted phv)
     ROSA M. MORALES (admitted phv)
 3   335 MADISON AVENUE, 9TH FLOOR
     NEW YORK, NY 10017
 4   212.350.2700
     212.350.2701
 5   mcantor@constantinecannon.com
     jkim@constantinecannon.com
 6   rmorales@constantinecannon.com

 7   Lead Counsel for Plaintiffs and the [Proposed] Class

 8 THE MEHDI FIRM, PC
   AZRA Z. MEHDI (State Bar No. 220406)
 9 ONE MARKET
   SPEAR TOWER, SUITE 3600
10 SAN FRANCISCO, CA 94105
   415.293.8039
11 415.293.8001
   azram@themehdifirm.com
12
   Co-Lead Counsel for Plaintiffs and the [Proposed] Class
13

14

15                               UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17

18   DJENEBA SIDIBE, JERRY JANKOWSKI, SUSAN
     HANSEN, DAVID HERMAN, CAROLINE                          Case No. 3:12-cv-4854-LB
19   STEWART, OPTIMUM GRAPHICS, INC., and
     JOHNSON POOL & SPA, on Behalf of Themselves
20   and All Others Similarly Situated,                      CLASS ACTION

21                               Plaintiffs,                 FOURTH AMENDED COMPLAINT

22          vs.                                              DEMAND FOR JURY TRIAL
23   SUTTER HEALTH,
24                               Defendant.
25

26

27

28
            Case 3:12-cv-04854-LB                    Document 204                   Filed 09/29/17                Page 2 of 44



 1
                                                           TABLE OF CONTENTS
 2

 3   I.        INTRODUCTION .....................................................................................................................1
 4   II.       JURISDICTION AND VENUE ................................................................................................4

 5   III.      THE PARTIES...........................................................................................................................5
               A.        Plaintiffs .........................................................................................................................5
 6
               B.        Defendant .......................................................................................................................7
 7             C.        Co-Conspirators .............................................................................................................7
 8   IV.       FACTUAL BACKGROUND ....................................................................................................7
               A.        The Purchase of Inpatient Hospital Services by Commercial Health Plans ..................7
 9
               B.        Commercial Health Plans “Must Have” Sutter’s Inpatient Hospital Services. .............8
10             C.        The Tying Arrangements That Sutter Has Forced Upon Commercial Health
                         Plans. ..............................................................................................................................9
11
               D.        The Anti-Steering Provisions That Sutter Has Forced Upon Commercial
12                       Health Plans. ................................................................................................................11
     V.        RELEVANT MARKETS ........................................................................................................13
13
               A.        Markets for Inpatient Hospital Services in Individual HSAs. .....................................13
14             B.        Markets for the Sale of Commercial Health Insurance to Subscribers in
                         Northern California Geographic Rating Areas (“RAs”) ..............................................23
15
     VI.       MARKET POWER..................................................................................................................27
16
     VII.      HARM TO COMPETITION ...................................................................................................28
17             A.        Sutter Has Foreclosed Competition in Inpatient Hospital Services. ............................28
18             B.        Sutter’s Anti-Competitive Conduct Has Raised Prices For Medical Care. .................30
               C.        Sutter Has Harmed the Quality of Patient Care. ..........................................................32
19
               D.        Plaintiffs and Class Members Have Been Overcharged for Health Insurance
20                       Premiums and Out-of-Pocket Costs. ............................................................................32
     VIII.     CLASS ALLEGATIONS ........................................................................................................34
21
     IX.       CLAIMS FOR RELIEF ...........................................................................................................36
22
               A.        First Claim – Section 1 Unlawful Tying (Per Se or Rule of Reason)..........................36
23             B.        Second Claim – Section 1 Course of Conduct .............................................................37
24             C.        Third Claim – Violation of the Cartwright Act ...........................................................38
               D.        Fourth Claim – Section 2 Monopolization...................................................................39
25
               E.        Fifth Claim – Section 2 Attempted Monopolization...................................................40
26             F.        Sixth Claim – Violation of California Unfair Competition Law Section 17200 .........40
27   X.        PRAYER FOR RELIEF ..........................................................................................................41
     XI.       DEMAND FOR JURY TRIAL ...............................................................................................42
28
     FOURTH AMENDED COMPLAINT                                              -i-                                              No. 3:12-cv-4854-LB
          Case 3:12-cv-04854-LB         Document 204         Filed 09/29/17      Page 3 of 44



 1
             Plaintiffs Djeneba Sidibe, Jerry Jankowski, Susan Hansen, David Herman, Caroline Stewart,
 2
     Optimum Graphics, Inc., and Johnson Pool & Spa, on behalf of themselves and those similarly
 3
     situated, bring this action against defendant Sutter Health and its affiliated entities (“Sutter”) for
 4   violations of the Sherman Act, the Cartwright Act and California’s Unfair Competition Law, and
 5   allege as follows:
 6   I.      INTRODUCTION
 7           1.     This case concerns anticompetitive tying arrangements that Sutter has forced upon
 8   health insurance plans that must purchase Inpatient Hospital Services from Sutter in order to offer
 9   commercial insurance products in Northern California markets. These illegal arrangements have

10   been imposed upon commercial health plans through unabated exercises of market power by Sutter.

11   They have also injured competition in relevant markets for Inpatient Hospital Services sold to

12   commercial health plans by substantially foreclosing hospital competition and artificially raising the

13   price of Inpatient Hospital Services charged to commercial health plans above competitive levels.
     And they have maintained Sutter’s hospital monopolies in Northern California and have furthered
14
     Sutter’s attempt to monopolize additional Northern California hospital markets. As reported in a
15
     New York Times article dated December 3, 2013, a professor of health care economics at the
16
     University of Southern California, Glenn Melnick, has concluded that “Sutter is a leader – a pioneer
17
     – in figuring out how to amass market power to raise prices and decrease competition.”
18
             2.     The supra-competitive overcharges that have been foisted upon commercial health
19
     plans by virtue of Sutter’s anticompetitive conduct have ultimately harmed thousands of entities and
20
     hundreds of thousands of patient-health plan members that reside in Northern California, including
21
     plaintiffs, who have incurred these overcharges in the form of inflated insurance premiums.
22
             3.     Sutter has accrued substantial market power over Inpatient Hospital Services sold to
23   health plans in geographic markets roughly congruent with hospital service areas (“HSAs”). These
24   HSAs have been defined by The Dartmouth Atlas of Health Care, a well-established industry source
25   compiled by the Dartmouth Institute for Health Policy & Clinical Practice. Policy makers and other
26   legal and economic authorities have looked to Dartmouth Institute-defined HSAs in order to assess
27   the economics of hospital markets.
28
     FOURTH AMENDED COMPLAINT                          -1-                               No. 3:12-cv-4854-LB
         Case 3:12-cv-04854-LB               Document 204            Filed 09/29/17          Page 4 of 44




 1            4.       In each of seven Northern California HSAs -- including the HSAs that have been

 2   defined for Antioch, Auburn, Crescent City, Davis, Jackson, Lakeport, and Tracy -- Sutter possesses

 3   monopoly power. These HSAs constitute economically-coherent relevant antitrust markets for the

 4   sale of Inpatient Hospital Services to health plans. Sutter also wields substantial market power over

 5   Inpatient Hospital Services sold to commercial health plans in a geographic market that is roughly
     congruent with the combined Berkeley and Oakland HSAs. (Each of these HSAs, and the combined
 6
     Berkeley-Oakland HSAs, will be referred to herein as a “Tying Market.” Collectively, these HSAs
 7
     will be referred to as the “Tying Markets.”) In each of the Tying Markets, other than the Berkeley-
 8
     Oakland Tying Market, Sutter wields a 100% share of the relevant Inpatient Hospital Services
 9
     utilized. In the Berkeley-Oakland Tying Market, Sutter wields a 66.7% share of relevant Inpatient
10
     Hospital Services utilized.1
11
              5.       Sutter has leveraged its substantial market power in each of these eight Tying
12
     Markets via anticompetitive tying arrangements imposed upon health plans -- such as Anthem Blue
13
     Cross, Aetna, Blue Shield, UnitedHealthcare and Health Net. These arrangements force health plans
14   to include, in their networks, the Inpatient Hospital Services that Sutter supplies in four other HSAs,
15   comprising four “Tied Markets.” The four Tied Markets are the San Francisco, Sacramento,
16   Modesto and Santa Rosa HSAs. Through this forcing, Sutter imposes supra-competitive rates for
17   Inpatient Hospital Services upon health plans in the Tied Markets.
18            6.       In particular, Sutter imposes “all or nothing” terms upon health plans: if health plans
19   do not accede to Sutter’s demand that they include the Inpatient Hospital Services that it supplies in

20   the Tied Markets in their health plan provider networks, then the health plans cannot include Sutter’s

21   “must have” Inpatient Hospital Services supplied in the Tying Markets in their provider networks.

22   As health plans cannot compete in the Tying Markets without contracting for Sutter’s Inpatient

23   Hospital Services in those markets, Sutter’s “all or nothing” demands offer them no choice at all. In
     effect, they force health plans to include Sutter’s Tied Market Inpatient Hospital Services in their
24
     provider networks at prices that Sutter dictates.
25
     1
26      Sutter wields monopoly power in these HSAs because the other large hospital system located in Northern California --
     Kaiser Permanente -- does not participate in the relevant markets, as it does not offer to contract with non-Kaiser health
27   plans. Rather, Kaiser only contracts with Kaiser’s affiliated health insurance plans. Kaiser thus fails to constrain Sutter
     Health’s pricing leverage over the various health plans purchasing Inpatient Hospital Services in the referenced HSAs.
28
     FOURTH AMENDED COMPLAINT                                 -2-                                    No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB           Document 204        Filed 09/29/17       Page 5 of 44




 1          7.      Sutter has also prevented health plans from steering members to lower-cost, quality

 2   hospitals and/or required certain health plans to steer their members to higher-priced Sutter facilities

 3   for Inpatient Hospital Services in order to reinforce and exacerbate the core anticompetitive impact

 4   of its tying arrangements. Sutter has done this by, for example, contractually requiring plans to

 5   financially penalize their members (by either direct financial penalties or by foregoing “out of
     pocket” incentives) if these members do not seek medical treatment at Sutter, as opposed to other,
 6
     hospitals. These contractual clauses effectively fine health plans, if they steer patients away from
 7
     Sutter’s high-priced facilities and/or fail to steer patients towards Sutter’s higher-priced hospitals, by
 8
     charging health plans even higher rates for Inpatient Hospital Services than the supra-competitive
 9
     rates that Sutter already imposes. In a competitive market, health plans could steer some (but far
10
     from all) of their members away from high-priced Sutter hospitals to reduce their medical costs:
11
     such steering is consistent with managed care practices. In the markets relevant to this action,
12
     Sutter’s anti-steering clauses preclude health plans from engaging in these established managed care
13
     practices, reinforcing the anticompetitive impact of Sutter’s tying and monopolistic conduct.
14          8.      Sutter’s conduct has caused anticompetitive harm in the relevant Inpatient Hospital
15   Services markets by causing health plans to pay higher rates for Inpatient Hospital Services than
16   they would have paid but for this conduct. These higher rates have been passed downstream by
17   health plans to individuals and employers that contract with health plans for commercial health
18   insurance. In this regard, there are nine geographic markets for the purchase of commercial health
19   insurance by subscribers that are relevant to this case. Each of these commercial health insurance

20   markets is as wide as one of nine California Geographic Rating Areas (“RAs”). RAs are geographic

21   areas, defined by the State of California and approved by the U.S. Department of Health and Human

22   Services, that health plans are required to use in setting rates for commercial health insurance to

23   members in California.
            9.      Sutter’s conduct has also harmed competition by substantially foreclosing hospital
24
     competition. Sutter’s conduct has forced commercial health plans to include higher-priced Sutter
25
     hospital facilities in their networks. But for this conduct, these higher-priced Sutter hospitals would
26
     not have been included in these health plan networks. Had these higher-priced hospitals not been
27
     included in these networks, patients-health plan members would have had financial incentives to
28
     FOURTH AMENDED COMPLAINT                         -3-                               No. 3:12-cv-4854-LB
           Case 3:12-cv-04854-LB       Document 204         Filed 09/29/17      Page 6 of 44




 1   visit lower-cost facilities in the Tied Markets for Inpatient Hospital Services. (Specifically, in a

 2   world absent Sutter’s tying arrangements, patients-health plan members would have had to pay

 3   substantial “out of pocket” costs to visit Sutter hospitals on an out-of-network basis.) Consequently,

 4   the conduct at issue has resulted in lower-cost, non-Sutter hospitals in the Tied Markets serving far

 5   fewer patients than they otherwise would have had competition prevailed. This is quintessential
     foreclosure.
 6
              10.   Sutter’s conduct has also substantially raised barriers to entry in each of the Tying
 7
     Markets. It has made it much less likely that any hospital competitor will be able to grow in
 8
     Northern California and challenge the hospital monopolies that Sutter has created in each of the
 9
     Tying Markets. This has allowed Sutter to maintain its monopolies and force health plans to pay
10
     supra-competitive rates in the Tying Markets that would not have been charged in the absence of the
11
     conduct at issue.
12
              11.   There is no legitimate justification or offsetting procompetitive benefit for Sutter’s
13
     conduct.
14            12.   Sutter’s conduct violates Sections 1 and 2 of the Sherman Act and California’s
15   Cartwright Act. It also constitutes unlawful and unfair business acts or practices under California
16   Civil Code Section 17200.
17            13.   Plaintiffs seek to represent a Class of individuals and entities that have paid
18   anticompetitive overcharges for fully-insured products from Anthem Blue Cross, Aetna, Blue Shield,
19   UnitedHealthcare and Health Net as a result of Sutter’s monopolistic scheme during the relevant
20   damages period. In particular, they seek to recover treble damages on behalf of the Class, under
21   Fed. R. Civ. P. 23(b)(3), as Sutter’s conduct commonly impacts Class members. And they seek
22   permanent injunctive relief on behalf of the Class, under Fed. R. Civ. P. 23(b)(2), that requires Sutter
23   to terminate its tying arrangements and anti-steering practices.
24   II.      JURISDICTION AND VENUE
25            14.   Plaintiffs bring this action under Section 16 of the Clayton Act, 15 U.S.C. §§ 15 and
26   16, for violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2. This Court has

27   subject matter jurisdiction over this claim pursuant to 28 U.S.C. §§ 1331 and 1337.

28
     FOURTH AMENDED COMPLAINT                         -4-                              No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17       Page 7 of 44




 1          15.     Plaintiffs also bring this action under the Cartwright Act, Cal. Bus. & Prof. Code

 2   § 16720, et seq., and California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.,

 3   to obtain restitution, statutory damages, and injunctive relief. This Court has supplemental

 4   jurisdiction over these pendant California state law claims under 28 U.S.C. §§ 1332(d) and 1367

 5   because the claims arise from the same nucleus of operative facts as the federal antitrust law claims.
            16.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. § 22,
 6
     and 28 U.S.C. § 1391 because a substantial part of the events giving rise to plaintiffs’ claims
 7
     occurred in this District, Sutter transacts business and maintains facilities in this District and thus is
 8
     subject to personal jurisdiction here. Sutter is engaged in, and its activities substantially impact,
 9
     interstate commerce.
10
     III.   THE PARTIES
11
            A.      Plaintiffs
12
            17.     Plaintiff Djeneba Sidibe (“Sidibe”) is a resident of Marin County and has been since
13
     January 2012. From November 2009 until January 2012, she was a resident of Alameda County
14
     and, prior to November 2009, she was a resident of San Mateo County. Since March 2012, Sidibe
15
     has been a member of the Aetna health plan. Beginning in or around October 2005 until March
16
     2012, Sidibe was a member of the Anthem Blue Cross health plan. During the relevant period,
17
     Sidibe paid premiums in order to be enrolled as a plan member in the respective health plans. As a
18
     result of Sutter’s anticompetitive conduct, Sidibe paid artificially high premiums, co-payments,
19
     deductibles and other out-of-pocket payments not covered by the health plan.
20
            18.     Plaintiff Jerry Jankowski (“Jankowski”) is a resident of San Francisco County and has
21
     been since August 1992. Jankowski was a member of the Aetna health plan during the years 2008
22
     until 2011. Beginning July 2012 until June 2015, Jankowski was enrolled as a member in the Blue
23   Shield health plan. Jankowski paid premiums in order to be enrolled as a plan member in the
24   respective health plans. As a result of Sutter’s anticompetitive conduct, Jankowski paid artificially
25   high premiums, co-payments, deductibles and other out-of-pocket payments not covered by the
26   health plan.
27

28
     FOURTH AMENDED COMPLAINT                          -5-                               No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB          Document 204        Filed 09/29/17     Page 8 of 44




 1          19.     Plaintiff Susan Hansen (“Hansen”) is a resident of San Francisco County and has

 2   been for over fifty years. Since at least September 17, 2008 through 2016, Hansen was enrolled as a

 3   member in a Blue Shield health plan. Hansen paid premiums in order to be enrolled as a plan

 4   member in the Blue Shield health plan. As a result of Sutter’s anticompetitive conduct, Hansen paid

 5   artificially high premiums, co-payments, deductibles and other out-of-pocket payments not covered
     by the health plan.
 6
            20.     Plaintiff David Herman (“Herman”) is a resident of San Francisco County and has
 7
     been for over fifty years. From 2007 through 2016, Herman was enrolled in a Blue Shield health
 8
     plan. Herman paid premiums in order to be enrolled as a plan member in the Blue Shield health
 9
     plan. As a result of Sutter’s anticompetitive conduct, Herman paid artificially high premiums, co-
10
     payments, deductibles and other out-of-pocket payments not covered by the health plan
11
            21.     Plaintiff Caroline Stewart (“Stewart”) is a resident of San Francisco County and has
12
     been since 2010. Since April 2010 to the present, Stewart has been enrolled as a member in an
13
     Anthem Blue Cross health plan. Stewart paid premiums in order to be enrolled as a plan member.
14   As a result of Sutter’s anticompetitive conduct, Stewart paid artificially high premiums, co-
15   payments, deductibles and other out-of-pocket payments not covered by the health plan.
16          22.     Johnson Pool & Spa (“JPS”) is a privately held company in Windsor, California
17   (Sonoma County). JPS builds and services swimming pools. It is a family-owned business
18   established in 1989. JPS employs a staff of approximately 24 individuals. JPS paid premiums for
19   coverage of its employees under a Blue Shield health plan from January 2008 through October 2015.

20   Since November 1, 2015, JPS employees have been enrolled in Sutter’s proprietary HMO plan. As a

21   result of Sutter’s anticompetitive conduct, JPS paid artificially high premiums for the health

22   insurance that it afforded to its employees.

23          23.     Optimum Graphics, Inc. (“OG”) is a California corporation with its principal place of
     business in San Anselmo, California (Marin County). OG paid for Anthem Blue Cross health
24
     insurance for the owners of the business (Tom & Susan MacAusland and their two children), and
25
     one employee, from 1998 to 2012. Beginning in 2012, the MacAuslands paid their own Anthem
26
     Blue Cross health insurance premium, but OG continued paying the Anthem Blue Cross health
27
     insurance premiums for its employee. As a result of Sutter’s anticompetitive conduct, OG paid
28
     FOURTH AMENDED COMPLAINT                        -6-                              No. 3:12-cv-4854-LB
           Case 3:12-cv-04854-LB       Document 204         Filed 09/29/17      Page 9 of 44




 1   artificially high premiums for health insurance that it afforded to its employees, including the

 2   MacAuslands.

 3            B.    Defendant

 4            24.   Sutter is a corporation organized and existing under the laws of the State of
     California, with its principal place of business located at 2200 River Plaza Drive, Sacramento,
 5
     California. Sutter controls the largest and most dominant network of hospitals and medical service
 6
     providers in Northern California. Sutter’s network includes at least 24 acute care hospitals with
 7
     approximately 4,500 beds.
 8
              25.   Over the last 30 years, Sutter has engaged in an acquisition campaign in order to
 9
     expand its market power. During that time, it has acquired approximately 20 hospitals. As a result
10
     of this campaign, Sutter now owns the only acute care hospitals in several Northern California
11
     HSAs.
12
              26.   In 2012, Sutter’s operating revenues were approximately $9.6 billion.
13
              C.    Co-Conspirators
14
              27.   Various persons, firms, corporations, organizations and other entities have
15   participated as co-conspirators in the violations alleged herein. On information and belief, Sutter has
16   some degree of ownership or control over various entities and organizations that are a party to,
17   benefit from, or are a repository for illegal proceeds generated by the violations alleged herein.
18   Plaintiffs are currently unaware of the identities of and degree of involvement by the co-conspirators
19   in the challenged conduct.
20   IV.      FACTUAL BACKGROUND
21            A.    The Purchase of Inpatient Hospital Services by Commercial Health Plans
22            28.   Commercial health plans -- such as Anthem Blue Cross, Aetna, Blue Shield,

23   UnitedHealthcare and Health Net -- purchase medical services, including Inpatient Hospital

24   Services, for the benefit of their insured members, who are consumers that purchase commercial

25   health insurance from these commercial health plans. In a competitive market, commercial health

26   plans will enter into a contract with a hospital for Inpatient Hospital Services to be provided to the

27   health plan’s members when the hospital offers competitively-priced and quality services. The costs

28
     FOURTH AMENDED COMPLAINT                         -7-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17    Page 10 of 44




 1   associated with the Inpatient Hospital Services provided to members of a commercial health plan by

 2   hospitals are ultimately passed onto health plan subscribers and members, such as plaintiffs, in the

 3   form of commercial health insurance premiums. Accordingly, the insurance premiums paid by

 4   health plan subscribers and members, such as plaintiffs, increase when their health plans are forced

 5   to purchase Inpatient Hospital Services at supra-competitive rates. Health plan members also

 6   directly pay for the costs of medical services provided by hospitals in the form of co-insurance

 7   payments.

 8          B.      Commercial Health Plans “Must Have” Sutter’s Inpatient Hospital Services.

 9          29.     Commercial health plans offering insurance products in certain areas of Northern

10   California must include Sutter Inpatient Hospital Services in their participating provider networks.

11          30.     Sutter dominates numerous hospital service areas (HSAs) in Northern California,
     often offering the only available hospital facility to health plan members in a given HSA. HSAs are
12
     areas defined by the Dartmouth Atlas of Health Care -- a well-established industry authority -- as
13
     “local health care markets for hospital care.” According to the Dartmouth Atlas website
14
     (www.dartmouthatlas.org), “[a]n HSA is a collection of ZIP codes whose residents receive most of
15
     their hospitalizations from the hospitals in that area.” As set forth in Paragraphs 56-67 below, there
16
     are thirteen Northern California HSAs that constitute geographic markets for Inpatient Hospital
17
     Services relevant to this action. These include: Antioch, Auburn, Crescent City, Davis, Jackson,
18
     Lakeport, Modesto, Sacramento, San Francisco, Santa Rosa, and Tracy. A geographic market
19
     relevant to this action for Inpatient Hospital Services is also roughly congruent with the combined
20
     HSAs for Berkeley and Oakland.
21          31.     Specifically, as referenced in Paragraphs 86-93, Sutter wields and exercises market
22   power over Inpatient Hospital Services sold to health plans in each of the following HSAs: Antioch,
23   Auburn, Crescent City, Davis, Jackson, Lakeport, Tracy and the combined Berkeley-Oakland HSAs.
24   (As stated above, these are collectively referred to herein as the “Tying Markets”).
25          32.     Sutter’s market power over health plans in the Tying Markets is enhanced by the fact
26   that Kaiser Permanente -- the other large hospital system in Northern California -- does not offer to

27   supply Inpatient Hospital Services to health plans that are unaffiliated with Kaiser Permanente health

28
     FOURTH AMENDED COMPLAINT                        -8-                             No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB           Document 204        Filed 09/29/17      Page 11 of 44




 1   plans. The Kaiser Permanente health system is a closed member system. In other words, as Kaiser

 2   only offers Inpatient Hospital Services to Kaiser’s affiliated (and vertically-integrated) insurance

 3   plans, Kaiser is not a competitor in the relevant markets.

 4           C.       The Tying Arrangements That Sutter Has Forced Upon Commercial Health
                      Plans.
 5
             33.      Sutter has forced health plans -- including Anthem Blue Cross, Aetna, Blue Shield,
 6
     UnitedHealthcare and Health Net-- to include Sutter’s higher-priced Inpatient Hospital Services in
 7
     the Tied Markets in their health plan networks. For example, Sutter has forced certain health plans
 8
     to include language in their contracts with Sutter that is either identical or similar to the following:
 9                 Each payer [i.e., commercial health plan] accessing Sutter Health providers
                   shall designate ALL Sutter Health providers . . . as participating providers
10                 unless a Payer excludes the entire Sutter Health provider network.
11   Sutter has also forced health plans to include its higher-priced Tied Market Inpatient Hospital

12   Services in their networks by orally threatening that failure to do so would mean that health plans

13   could not include Sutter’s Tying Market Inpatient Hospital Services in their networks.

14           34.      Sutter has also forced health plans to include Sutter hospitals in their networks by
     requiring them to pay exorbitant, even higher out-of-network rates for any Sutter hospital services
15
     that health plans would otherwise exclude from their networks. An example of such a clause states
16
     that:
17                 During the Term of this Agreement, Payer shall pay Providers that do not
                   participate in the Member’s Plan or Network at 100% of Provider’s Total
18                 Billed Charges less the Member Liability for all Covered Services.
19   These “non-par” rates (calculated between 95% and 100% of “billed charges”) are much higher and
20   almost double Sutter’s already supra-competitive in-network rates and substantially higher than out-
21   of-network rates that health plans generally pay to hospital facilities that are excluded from their

22   networks. As a result, these provisions have forced health plans to include all of Sutter’s high-priced

23   hospitals in their network and, in turn, have prevented health plans from successfully launching

24   lower-cost, “limited” or “narrow” networks, as confirmed by the testimony of health plan witnesses.

25           35.      As a result of these “all or nothing” arrangements and the “must have” power that
     Sutter wields over health plans in the Tying Markets, health plans are forced to include Sutter
26
     Inpatient Hospital Services in their provider networks in each of the following four Tied Markets:
27
     the HSAs of San Francisco, Sacramento, Modesto and Santa Rosa. These arrangements also require
28
     FOURTH AMENDED COMPLAINT                   -9-                            No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17     Page 12 of 44




 1   health plans to include every Sutter hospital in each of the Tying Markets in their provider networks.

 2   If not for these tying arrangements, health plans would have the ability to forego including Sutter

 3   hospitals in their provider networks unless and until those hospitals offered health plans lower,

 4   competitively-priced rates for their Inpatient Hospital Services.

 5          36.     Sutter’s tying arrangements utilize Sutter’s market power in the Tying Markets to
     force health plans to include supra-competitively priced Sutter hospitals in the Tied Markets in their
 6
     networks. If not for these contractual tying arrangements, health plans would have purchased
 7
     Inpatient Hospital Services on other terms.
 8
            37.     The following map identifies the geographic layout of the Tying Markets and Tied
 9
     Markets:
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26          38.     Sutter’s tying arrangements constitute anticompetitive conduct, particularly when
27   considering Sutter’s power to force health plans to accept these tying arrangements. Such tying of

28
     FOURTH AMENDED COMPLAINT                       -10-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB            Document 204          Filed 09/29/17     Page 13 of 44




 1   health care services by providers with market power has been particularly and recently identified as

 2   “conduct to avoid” by the Federal Trade Commission and Department of Justice, Antitrust Division

 3   in their Statement of Antitrust Enforcement Policy Regarding Accountable Care Organizations

 4   (“ACOs”) Participating in the Medicare Shared Savings Program (the “DOJ/FTC Policy

 5   Statement”). There, these enforcement agencies noted that a group of providers (e.g., an ACO)
     “should not require a purchaser to contract with all of the hospitals under common ownership with a
 6
     hospital that participates in the ACO.” This prohibition applies to Sutter’s tying arrangement
 7
     because Sutter’s dominant market shares in the Tying Markets far exceed the 30% provider market
 8
     share threshold that the FTC and DOJ identify as causing a need for heightened antitrust scrutiny of
 9
     providers.
10
             39.      In a February 2013 advisory opinion, the FTC again noted the anticompetitive nature
11
     of “all or nothing” tying arrangements that are thrust upon health plans by hospitals with market
12
     power, such as the ones at issue in this case. There, the FTC stated that a proposed physician-
13
     hospital organization did not violate antitrust law because:
14
                   the proposal does not appear to include ‘vertical’ arrangements that would
15                 enable [the organization] to use any market power that [it] might possess in
                   selling certain services to limit competition in the sale of any other services.
16                 For example, [it] does not propose to use any contracting requirements
                   that would require payers to do business with all of [the organization’s]
17                 participating hospitals . . .
     Norman PHO Advisory Opinion, Op. FTC 19 (Feb. 13, 2013) (emphasis supplied).
18

19           D.       The Anti-Steering Provisions That Sutter Has Forced Upon Commercial Health
                      Plans.
20
             40.      In a competitive environment, commercial health plans have the ability to steer some
21
     (but far from all) of their members to lower-cost, quality providers that participate in their provider
22
     networks. Health plans do this to reduce the cost of the medical expenses that they pay. Such
23   steering to low-cost providers over higher-cost providers is consistent with the practice of managed
24   care.
25           41.      Sutter, however, precludes such steering to lower-cost facilities. For example, Sutter
26   has included provisions in a number of its agreements that prevent health plans from steering
27   members away from higher-cost Sutter hospitals, and/or force health plans to route members away
28
     FOURTH AMENDED COMPLAINT                          -11-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204          Filed 09/29/17      Page 14 of 44




 1   from lower-cost hospitals and to higher-cost Sutter hospitals. These anti-steering clauses reinforce

 2   and exacerbate the core anticompetitive impact of Sutter’s tying arrangements. For example, Sutter

 3   contracts prohibit steering away from Sutter facilities through financial incentives and/or penalties:
                  In no event shall the Member be financially penalized for accessing any
 4                Sutter Provider that participates in the member’s Plan and Network.
 5          42.      Another example is Sutter’s contract provision regarding “tiered” and “limited” or
 6   “narrow” networks. These networks are designed by health plans to steer plan members to lower
 7   cost, more efficient hospitals. But Sutter either refuses to participate in these networks or otherwise

 8   imposes terms upon its participation that prevent health plans from steering to lower cost, more

 9   efficient hospitals, such as the following:
                  [Sutter has] not agreed to participate in any tiered products, benefit designs,
10                Plans or Networks offered by a Payer that rank participating Providers, and
                  the rank directly affects the Member Liability, the employer’s premium, or
11                both, or restricts or limits network access. . . .
12          43.      As another example of Sutter’s intent to prevent steering to lower-cost non-Sutter
13   facilities, for its self-insured payers, one Sutter contract has required the health plan:

14                . . . to actively encourage members obtaining medical care to use Sutter
                  Health Providers. “Actively encourage” or “active encouragement” means
15                incentivizing members to use participating providers [i.e., defined elsewhere
                  as only Sutter providers] through the use of one or more of the following:
16                reduced co-payments, reduced deductibles, premium discounts directly
                  attributable to the participating provider, financial penalties, or requiring
17                such members to pay additional sums directly attributable to the non-use of a
                  participating provider.
18
                  If Sutter Health or any provider learns that a payer . . . .does not actively
19                encourage its members to use network participating providers [i.e., Sutter
                  only providers] . . . Sutter shall have the right upon not less than thirty
20                (30) days’ written notice to terminate that payer’s right to negotiated
                  rates. In the event of such termination, the terminated payer shall pay
21
                  for covered services rendered by providers at 100% of billed charges
22                until such time as Sutter reasonable believes and notices that the payer does
                  in fact actively encourage its members to use network participating providers
23                ...
24
                  (Emphasis supplied).
25
            44.      These clauses preclude health plans from steering certain members away from Sutter,
26
     as one would expect would occur in a competitive market. These clauses do this by giving Sutter the
27   ability to extract substantial financial penalties from health plans or to assert breach of contract
28
     FOURTH AMENDED COMPLAINT                         -12-                               No. 3:12-cv-4854-LB
          Case 3:12-cv-04854-LB       Document 204          Filed 09/29/17     Page 15 of 44




 1   claims for non-compliance: Sutter is, under any of these clauses, provided with the right to charge

 2   the commercial health plan even higher “non-par” rates for Inpatient Hospital Services if the health

 3   plan does not steer members away from lower-cost providers and to Sutter hospitals. (According to

 4   a professor of health management and policy at the University of Michigan, Simone Singh, hospital

 5   billed charges are generally twice as much as what insurers typically pay for hospital procedures.)
              45.   These clauses therefore specify that health plans engage in economically counter-
 6
     intuitive behavior: they preclude health plans from offering incentives to their members that cause
 7
     these members to visit lower-cost hospitals and/or force health plans to incentivize members to
 8
     frequent higher-cost Sutter facilities (particularly as the member generally has no knowledge of the
 9
     overall costs that are paid for these procedures.) This is the antithesis of managed care.
10
              46.   The DOJ/FTC Policy Statement evidences that Sutter’s anti-steering policy is
11
     anticompetitive. That Policy Statement proscribes a provider group, like Sutter, from “preventing or
12
     discouraging private payers from directing or incentivizing patients to choose certain providers . . .
13
     through ‘anti-steering’ clauses.” Moreover, economic literature has identified that anti-steering
14   provisions, such as those that Sutter forces upon commercial health plans, compromise price
15   competition. See Havighurst, Clark C. & Richman, Barak D., The Provider Monopoly Problem in
16   Health Care, 89 OREGON L. REV. 847-883 (2011). The referenced February 2013 FTC advisory
17   opinion also identifies the anticompetitive nature of anti-steering provisions forced upon health plans
18   by entities with market power. It states that the proposed physician-hospital organization at issue
19   there did not appear to be “limit[ing] competition” because, among other things, it did not “prevent

20   papers from directing or incentivizing patients to choose certain providers . . . through ‘anti-steering’

21   . . . contractual clauses or provisions.” Norman PHO Advisory Opinion, Op. FTC 19 (Feb. 13,

22   2013).

23   V.       RELEVANT MARKETS

24            A.    Markets for Inpatient Hospital Services in Individual HSAs.
                    i.      The Inpatient Hospital Service Product Market
25
              47.   The sale of Inpatient Hospital Services to commercial health plans is a relevant
26
     product market.
27

28
     FOURTH AMENDED COMPLAINT                        -13-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 16 of 44




 1          48.     Inpatient Hospital Services are a broad group of medical and surgical diagnostic and

 2   treatment services that include an overnight stay in the hospital by the patient. Although individual

 3   Inpatient Hospital Services are not substitutes for each other (e.g., obstetrics and cardiac services are

 4   not substitutes for each other), the various individual Inpatient Hospital Services can be aggregated

 5   for analytic convenience and has been so aggregated by courts, antitrust enforcers, and industry
     sources such as the Institute of Medicine and the California HealthCare Foundation. Inpatient
 6
     Hospital Services exclude: (1) services at hospitals that serve solely military personnel or veterans;
 7
     (2) services at outpatient facilities that provide same-day service only; and (3) psychiatric, substance
 8
     abuse, and rehabilitation services.
 9
            49.     The market for the sale of Inpatient Hospital Services to health plans excludes
10
     outpatient services because health plans and patients would not substitute outpatient services for
11
     inpatient services in response to a sustained price increase. There are no other reasonably
12
     interchangeable services for Inpatient Hospital Services.
13
            50.     The market for the sale of Inpatient Hospital Services to commercial health plans
14   excludes sales of such services to government payers. The primary government payers are the
15   federal government’s Medicare program (coverage for the elderly and disabled), the joint federal and
16   state Medicaid programs (coverage for low-income persons), and the federal government’s
17   TRICARE program (coverage for military personnel and families). The federal government sets the
18   rates and schedules at which the government pays healthcare providers for services provided to
19   individuals covered by Medicare, Medicaid, and TRICARE. These rates are not subject to

20   negotiation.

21          51.     In contrast, commercial health plans negotiate rates with healthcare providers and sell

22   health insurance policies to organizations and individuals, who pay premiums for the policies.

23   Generally, the rates that commercial health plans pay hospitals for Inpatient Hospital Services are
     substantially higher than those paid by government payers (Medicare, Medicaid, and TRICARE).
24
            52.     There are no reasonable substitutes or alternatives to Inpatient Hospital Services sold
25
     to commercial health plans. A hospital’s negotiations with commercial health plans are separate
26
     from the process used to determine the rates paid by government payers, and hospitals could,
27
     therefore, target a price increase just to commercial health plans. Commercial health plans cannot
28
     FOURTH AMENDED COMPLAINT                        -14-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB             Document 204         Filed 09/29/17   Page 17 of 44




 1   shift to government rates in response to an increase in rates for Inpatient Hospital Services sold to

 2   commercial health plans, and patients who are ineligible for Medicare, Medicaid, or TRICARE

 3   cannot substitute those programs for commercial health insurance in response to a price increase for

 4   commercial health insurance. Consequently, a hypothetical monopolist provider of Inpatient

 5   Hospital Services sold to commercial health plans could profitably maintain supra-competitive
     prices for those services over a sustained period of time.
 6
                     ii.        The Relevant Geographic Markets for Inpatient Hospital Services.
 7
             53.     The Dartmouth Atlas of Health Care, a well-established industry authority, has been
 8
     defining hospital service areas, or HSAs, for the purpose of economic analysis for over twenty years.
 9
     In that regard, The Dartmouth Atlas has recognized that there are “local health care market[s] for
10
     hospital care” and has defined HSAs as such. In particular, The Dartmouth Atlas has defined local
11
     HSAs as “a collection of ZIP codes whose residents receive most of their hospitalizations from the
12
     hospitals in that area.”
13
             54.     The fact that the geographic scope of markets for Inpatient Hospital Services are
14   roughly congruent with Dartmouth Institute-defined HSAs is evidenced by the requirements of
15   California’s Knox-Keene Act (and the regulations promulgated thereunder). Patients typically seek
16   medical care close to their homes or workplaces. To ensure that health plan members can access
17   local hospitals for Inpatient Hospital Services (among other things), the Knox-Keene Act requires
18   that all health plans contract with a “hospital that has the capacity to serve the entire dependent
19   enrollee population based on normal utilization” that is located within 30 minutes or 15 miles of

20   member residences or workplaces. Department of Managed Health Care, “Regulations Applicable

21   to California Licensed HealthCare Service Plans,” at 39 (2012),

22   http://wpso.dmhc.ca.gov/regulations/12CCRP/2012CCRP.pdf.

23           55.     There are thirteen HSAs that comprise relevant markets for Inpatient Hospital
     Services in this matter. Nine of these HSAs comprise the eight Tying Markets. One of the Tying
24
     Market consists of the combination of the Berkeley and Oakland HSAs. The remaining four HSAs
25
     relevant to this action are the Tied Markets.
26
             56.     A relevant geographic market for the sale of Inpatient Hospital Services to
27
     commercial health plans is the Antioch HSA, as defined by The Dartmouth Atlas of Health Care.
28
     FOURTH AMENDED COMPLAINT                          -15-                            No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 18 of 44




 1   The Antioch HSA is a Tying Market. The following zip codes are, according to the Dartmouth

 2   Atlas, included in the Antioch HSA: 94505, 94509, 94511, 94513, 94514, 94531, 94548, and 94561.

 3   Health plans seek to contract with providers in the relevant geographic market because many

 4   members that reside in the Antioch HSA strongly prefer to receive Inpatient Hospital Services from

 5   a provider within the HSA. There are no economic substitutes to commercial health plans for

 6   Inpatient Hospital Services provided in the Antioch HSA. In other words and in order to compete

 7   for members that reside in the Antioch HSA, commercial health plans would pay a small, but

 8   significant, non-transitory increase in price for Inpatient Hospital Services to a hypothetical (or

 9   actual) monopolist of Inpatient Hospital Services located in the Antioch HSA. Documents and data

10   produced in this case, particularly from health plans, confirm that Inpatient Hospital Services sold

11   outside the Antioch HSA are not an economic substitute for health plans or most patients who reside

12   in that HSA. Sutter provides Inpatient Hospital Services in the Antioch HSA via the Sutter Delta

13   Medical Center.

14          57.     A relevant geographic market for the sale of Inpatient Hospital Services to

15   commercial health plans is the Auburn HSA, as defined by The Dartmouth Atlas of Health Care.

16   The Auburn HSA is a Tying Market. The following zip codes are, according to the Dartmouth

17   Atlas, included in the Auburn HSA: 95602, 95603, 95604, 95614, 95631, 95658, 95664, 95701,

18   95703, 95713, 95714, 95717, 95722, and 95736. Health plans seek to contract with providers in the

19   relevant geographic market because many members that reside in the Auburn HSA strongly prefer to

20   receive Inpatient Hospital Services from a provider within the HSA. There are no economic

21   substitutes to commercial health plans for Inpatient Hospital Services provided in the Auburn HSA.

22   In other words and in order to compete for members that reside in the Auburn HSA, commercial

23   health plans would pay a small, but significant, non-transitory increase in price for Inpatient Hospital
     Services to a hypothetical (or actual) monopolist of such services located in the Auburn HSA.
24
     Documents and data produced in this case, particularly from health plans, confirm that Inpatient
25
     Hospital Services sold outside the Auburn HSA are not an economic substitute for health plans or
26
     most patients who reside in that HSA. Sutter provides Inpatient Hospital Services in the Auburn
27
     HSA via the Sutter Auburn Faith Hospital.
28
     FOURTH AMENDED COMPLAINT                        -16-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 19 of 44




 1          58.     A relevant geographic market for the sale of Inpatient Hospital Services to

 2   commercial health plans is the Crescent City HSA, as defined by The Dartmouth Atlas of Health

 3   Care. The Crescent City HSA is a Tying Market. The following zip codes are, according to the

 4   Dartmouth Atlas, included in the Crescent City HSA: 95531, 95532, 95538, 95543, 95548, 95567,

 5   and 97415. Health plans seek to contract with providers in the relevant geographic market because

 6   many members that reside in the Crescent City HSA strongly prefer to receive Inpatient Hospital

 7   Services from a provider within the HSA. There are no economic substitutes to commercial health

 8   plans for Inpatient Hospital Services provided in the Crescent City HSA. In other words and in

 9   order to compete for members that reside in the Crescent City HSA, commercial health plans would

10   pay a small, but significant, non-transitory increase in price for Inpatient Hospital Services to a

11   hypothetical (or actual) monopolist of such services located in the Crescent City HSA. Documents

12   and data produced in this case, particularly from health plans, confirm that Inpatient Hospital

13   Services sold outside the Crescent City HSA are not an economic substitute for health plans or most

14   patients who reside in that HSA. Sutter provides Inpatient Hospital Services in the Crescent City

15   HSA via the Sutter Coast Hospital.

16          59.     A relevant geographic market for the sale of Inpatient Hospital Services to

17   commercial health plans is the Davis HSA, as defined by The Dartmouth Atlas of Health Care.

18   The Davis HSA is a Tying Market. The following zip codes are, according to the Dartmouth Atlas,

19   included in the Davis HSA: 95616, 95617, 95618, 95620, and 95694. Health plans seek to contract

20   with providers in the relevant geographic market because many members that reside in the Davis

21   HSA strongly prefer to receive Inpatient Hospital Services from a provider within the HSA. There

22   are no economic substitutes to commercial health plans for Inpatient Hospital Services provided in

23   the Davis HSA. In other words and in order to compete for members that reside in the Davis HSA,
     commercial health plans would pay a small, but significant, non-transitory increase in price for
24
     Inpatient Hospital Services to a hypothetical (or actual) monopolist of such services located in the
25
     Davis HSA. Documents and data produced in this case, particularly from health plans, confirm that
26
     Inpatient Hospital Services sold outside the Davis HSA are not an economic substitute for health
27

28
     FOURTH AMENDED COMPLAINT                        -17-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 20 of 44




 1   plans or most patients who reside in that HSA. Sutter provides Inpatient Hospital Services in the

 2   Davis HSA via the Sutter Davis Hospital.

 3          60.     A relevant geographic market for the sale of Inpatient Hospital Services to

 4   commercial health plans is the Jackson HSA, as defined by The Dartmouth Atlas of Health Care.

 5   The Jackson HSA is a Tying Market. The following zip codes are, according to the Dartmouth

 6   Atlas, included in the Jackson HSA: 95232, 95255, 95601, 95629, 95640, 95642, 95644, 95646,
     95654, 95665, 95666, 95669, 95675, 95685, 95689, and 95699. Health plans seek to contract with
 7
     providers in the relevant geographic market because many members that reside in the Jackson HSA
 8
     strongly prefer to receive Inpatient Hospital Services from a provider within the HSA. There are no
 9
     economic substitutes to commercial health plans for Inpatient Hospital Services provided in the
10
     Jackson HSA. In other words and in order to compete for members that reside in the Jackson HSA,
11
     commercial health plans would pay a small, but significant, non-transitory increase in price for
12
     Inpatient Hospital Services to a hypothetical (or actual) monopolist of such services located in the
13
     Jackson HSA. Documents and data produced in this case, particularly from health plans, confirm
14
     that Inpatient Hospital Services sold outside the Jackson HSA are not an economic substitute for
15
     health plans or most patients who reside in that HSA. Sutter provides Inpatient Hospital Services in
16   the Jackson HSA via the Sutter Amador Hospital.
17          61.     A relevant geographic market for the sale of Inpatient Hospital Services to
18   commercial health plans is the Lakeport HSA, as defined by The Dartmouth Atlas of Health
19   Care. The Lakeport HSA is a Tying Market. The following zip codes are, according to the
20   Dartmouth Atlas, included in the Lakeport HSA: 95426, 95435, 95451, 95453, 95458, 95464,
21   95485, and 95493. Health plans seek to contract with providers in the relevant geographic market

22   because many members that reside in the Lakeport HSA strongly prefer to receive Inpatient Hospital

23   Services from a provider within the HSA. There are no economic substitutes to commercial health

24   plans for Inpatient Hospital Services provided in the Lakeport HSA. In other words and in order to
     compete for members that reside in the Lakeport HSA, commercial health plans would pay a small,
25
     but significant, non-transitory increase in price for Inpatient Hospital Services to a hypothetical (or
26
     actual) monopolist of such services located in the Lakeport HSA. Documents and data produced in
27
     this case, particularly from health plans, confirm that Inpatient Hospital Services sold outside the
28
     FOURTH AMENDED COMPLAINT                        -18-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17     Page 21 of 44




 1   Lakeport HSA are not an economic substitute for health plans or most patients who reside in that

 2   HSA. Sutter provides Inpatient Hospital Services in the Lakeport HSA via the Sutter Lakeside

 3   Hospital.

 4          62.     A relevant geographic market for the sale of Inpatient Hospital Services to

 5   commercial health plans is the Tracy HSA, as defined by The Dartmouth Atlas of Health Care.
     The Tracy HSA is a Tying Market. The following zip codes are, according to the Dartmouth Atlas,
 6
     included in the Tracy HSA: 95304, 95376, 95377, 95378, and 95391. Health plans seek to contract
 7
     with providers in the relevant geographic market because many members that reside in the Tracy
 8
     HSA strongly prefer to receive Inpatient Hospital Services from a provider within the HSA. There
 9
     are no economic substitutes to commercial health plans for Inpatient Hospital Services provided in
10
     the Tracy HSA. In other words and in order to compete for members that reside in the Tracy HSA,
11
     commercial health plans would pay a small, but significant, non-transitory increase in price for
12
     Inpatient Hospital Services to a hypothetical (or actual) monopolist of such services located in the
13
     Tracy HSA. Documents and data produced in this case, particularly from health plans, confirm that
14   Inpatient Hospital Services sold outside the Tracy HSA are not an economic substitute for health
15   plans or most patients who reside in that HSA. Sutter provides Inpatient Hospital Services in the
16   Tracy HSA via the Sutter Tracy Community Hospital.
17          63.     A relevant geographic market for the sale of Inpatient Hospital Services to
18   commercial health plans is the Berkeley-Oakland HSAs, as defined by The Dartmouth Atlas of
19   Health Care. The Berkeley-Oakland HSAs are a Tying Market. The following zip codes are,

20   according to the Dartmouth Atlas, included in the Berkeley HSA: 94530, 94701, 94702, 94703,

21   94704, 94705, 94706, 94707, 94708, 94709, 94710, 94712, and 94720. The following zip codes are,

22   according to the Dartmouth Atlas, included in the Oakland HSA: 94502, 94604, 94608, 94612,

23   94620, 94649, 94661, 94601, 94605, 94609, 94613, 94617, 9462194662, 94602, 94606, 94610,
     94614, 94618, 94623, 94659, 94666, 94603, 94607, 94611, 94615, 94619, 94624, and 94660.
24
     Health plans seek to contract with providers in the relevant geographic market because many
25
     members that reside in the Berkeley-Oakland HSAs strongly prefer to receive Inpatient Hospital
26
     Services from a provider within those HSAs. There are no economic substitutes to commercial
27
     health plans for Inpatient Hospital Services provided in the Berkeley-Oakland HSAs. In other words
28
     FOURTH AMENDED COMPLAINT                       -19-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204        Filed 09/29/17      Page 22 of 44




 1   and in order to compete for members that reside in the Berkeley-Oakland HSAs, commercial health

 2   plans would pay a small, but significant, non-transitory increase in price for those Inpatient Hospital

 3   Services to a hypothetical (or actual) monopolist of such services located in the Berkeley-Oakland

 4   HSAs. Documents and data produced in this case, particularly from health plans, confirm that

 5   Inpatient Hospital Services sold outside the Berkeley-Oakland HSAs are not an economic substitute
     for health plans or most patients who reside in those HSAs. Sutter provides Inpatient Hospital
 6
     Services in the Berkeley-Oakland HSAs via the Alta-Bates Summit Medical Center – Alta Bates,
 7
     Hawthorne, Herrick, and Summit campuses.
 8
            64.     A relevant geographic market for the sale of Inpatient Hospital Services to
 9
     commercial health plans is the Modesto HSA, as defined by The Dartmouth Atlas of Health Care.
10
     The Modesto HSA is a Tied Market. The following zip codes are, according to the Dartmouth Atlas,
11
     included in the Modesto HSA: 95307, 95230, 95313, 95319, 95320, 95322, 95323, 95326, 95328,
12
     95329, 95350, 95351, 95352, 95353, 95354, 95355, 95356, 95357, 95358, 95360, 95363, 95366,
13
     95367, 95368, 95385, 95386, 95387, and 95397. Health plans seek to contract with providers in the
14   relevant geographic market because many members that reside in the Modesto HSA strongly prefer
15   to receive Inpatient Hospital Services from a provider within the HSA. There are no economic
16   substitutes to commercial health plans for Inpatient Hospital Services provided in the Modesto HSA.
17   In other words and in order to compete for members that reside in the Modesto HSA, commercial
18   health plans would pay a small, but significant, non-transitory increase in price for Inpatient Hospital
19   Services to a hypothetical (or actual) monopolist of such services located in the Modesto HSA.

20   Documents and data produced in this case, particularly from health plans, confirm that Inpatient

21   Hospital Services sold outside of the Modesto HSA are not an economic substitute for health plans

22   and patients that reside in the Modesto HSA. Sutter provides Inpatient Hospital Services in the

23   Modesto HSA via the Memorial Hospital Medical Center Modesto.
            65.     A relevant geographic market for the sale of Inpatient Hospital Services to
24
     commercial health plans is the Sacramento HSA, as defined by The Dartmouth Atlas of Health
25
     Care. The Sacramento HSA is a Tied Market. The following zip codes are, according to the
26
     Dartmouth Atlas, included in the Sacramento HSA: 94203, 94204, 94205, 94206, 94207, 94208,
27
     94209, 94211, 94229, 94230, 94232, 94234, 94235, 94236, 94237, 94239, 94240, 94244, 94245,
28
     FOURTH AMENDED COMPLAINT                   -20-                          No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204          Filed 09/29/17     Page 23 of 44




 1   94247, 94248, 94249, 94250, 94252, 94254, 94256, 94257, 94258, 94259, 94261, 94262, 94263,

 2   94267, 94268, 94269, 94271, 94273, 94274, 94277, 94278, 94279, 94280, 94282, 94283, 94284,

 3   94285, 94286, 94287, 94288, 94289, 94290, 94291, 94293, 94294, 94295, 94296, 94297, 94298,

 4   94299, 95605, 95612, 95615, 95624, 95626, 95639, 95651, 95652, 95655, 95659, 95662, 95668,

 5   95670, 95672, 95673, 95680, 95683, 95690, 95691, 95693, 95741, 95757, 95758, 95759, 95762,

 6   95798, 95799, 95811, 95812, 95813, 95814, 95815, 95816, 95817, 95818, 95819, 95820, 95821,

 7   95822, 95823, 95824, 95825, 95826, 95827, 95828, 95829, 95830, 95831, 95832, 95833, 95834,

 8   95835, 95836, 95837, 95838, 95840, 95851, 95852, 95853, 95860, 95864, 95865, 95866, 95867,

 9   95894, and 95899. Health plans seek to contract with providers in the relevant geographic market

10   because many members that reside in the Sacramento h HSA strongly prefer to receive Inpatient

11   Hospital Services from a provider within the HSA. There are no economic substitutes to commercial

12   health plans for Inpatient Hospital Services provided in the Sacramento HSA. In other words and in

13   order to compete for members that reside in the Sacramento HSA, commercial health plans would

14   pay a small, but significant, non-transitory increase in price for those Inpatient Hospital Services to a

15   hypothetical (or actual) monopolist of such services located in the Sacramento HSA. Documents

16   and data produced in this case, particularly from health plans, confirm that Inpatient Hospital

17   Services sold outside of the Sacramento HSA are not an economic substitute for health plans and

18   patients that reside in the Sacramento HSA. Sutter provides Inpatient Hospital Services in the

19   Sacramento HSA via the Sutter General Hospital and Sutter Memorial Hospital.

20          66.     A relevant geographic market for the sale of Inpatient Hospital Services to
     commercial health plans is the San Francisco HSA, as defined by The Dartmouth Atlas of Health
21
     Care. The San Francisco HSA is a Tied Market. The following zip codes are, according to the
22
     Dartmouth Atlas, included in the San Francisco HSA: 94102, 94103, 94104, 94105, 94107, 94108,
23
     94109, 94110, 94111, 94112, 94114, 94115, 94116, 94117, 94118, 94119, 94120, 94121, 94122,
24
     4123, 94124, 94126, 94127, 94129, 94130, 94131, 94132, 94133, 94134, 94137, 94139, 94140,
25
     94141, 94142, 94143, 94144, 94145, 94146, 94147, 94151, 94158, 94159, 94160, 94161, 94163,
26
     94164, 94172, 94177, and 94188. Health plans seek to contract with providers in the relevant
27
     geographic market because many members that reside in the San Francisco HSA strongly prefer to
28
     FOURTH AMENDED COMPLAINT                        -21-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17     Page 24 of 44




 1   receive Inpatient Hospital Services from a provider within the HSA. There are no economic

 2   substitutes to commercial health plans for Inpatient Hospital Services provided in the San Francisco

 3   HSA. In other words and in order to compete for members that reside in the San Francisco HSA,

 4   commercial health plans would pay a small, but significant, non-transitory increase in price for

 5   Inpatient Hospital Services to a hypothetical (or actual) monopolist of such services located in the
     San Francisco HSA. Documents and data produced in this case, particularly from health plans,
 6
     confirm that Inpatient Hospital Services sold outside of the San Francisco HSA are not an economic
 7
     substitute for health plans and patients that reside in the San Francisco HSA. Sutter provides
 8
     Inpatient Hospital Services in the San Francisco HSA via five California Pacific Medical Center
 9
     campuses, including, the California East, California West, Davies, Pacific, and St. Luke’s campuses.
10
             67.    A relevant geographic market for the sale of Inpatient Hospital Services to
11
     commercial health plans is the Santa Rosa HSA, as defined by The Dartmouth Atlas of Health
12
     Care. The Santa Rosa HSA is a Tied Market. The following zip codes are, according to the
13
     Dartmouth Atlas, included in the Santa Rosa HSA: 94926, 94927, 94928, 94931, 95401, 95402,
14   95403, 95404, 95405, 95406, 95407, 95409, 95412, 95421, 95436, 95439, 95445, 95446, 95452,
15   95459, 95462, 95468, 95471, 95480, 95486, 95492, 95494, and 95497. Health plans seek to contract
16   with providers in the relevant geographic market because many members that reside in the Santa
17   Rosa h HSA strongly prefer to receive Inpatient Hospital Services from a provider within the HSA.
18   There are no economic substitutes to commercial health plans for Inpatient Hospital Services
19   provided in the Santa Rosa HSA. In other words and in order to compete for members that reside in

20   the Santa Rosa HSA, commercial health plans would pay a small, but significant, non-transitory

21   increase in price for those Inpatient Hospital Services for a hypothetical (or actual) monopolist of

22   such services located in the Santa Rosa HSA. Documents and data produced in this case, particularly

23   from health plans, confirm that Inpatient Hospital Services sold outside of the Santa Rosa HSA are
     not an economic substitute for health plans and patients that reside in the Santa Rosa HSA. Sutter
24
     provides Inpatient Hospital Services in the Santa Rosa HSA via the Summit Medical Center of Santa
25
     Rosa.
26

27

28
     FOURTH AMENDED COMPLAINT                       -22-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204          Filed 09/29/17    Page 25 of 44




            B.      Markets for the Sale of Commercial Health Insurance to Subscribers In
 1                  Northern California Geographic Rating Areas (“RAs”)
 2
                    i.      The Commercial Health Insurance Product Market
 3
            68.     The sale of commercial health insurance is a relevant product market. Individuals,
 4
     who are not disabled, elderly, or indigent, and therefore eligible for Medicare or Medicaid programs,
 5   typically obtain health insurance from commercial health plans. Such health insurance is generally
 6   used to pay for medical expenses incurred by health plan members.
 7          69.     Commercial health insurance is purchased by individuals from commercial health
 8   plans. It also is obtained by employers from commercial health plans who, as a benefit, will
 9   sometimes pay for a share of the premiums incurred by the employee-member.

10          70.     Health plans compete to be chosen by individuals and employers based on the

11   provider configuration of their provider networks, on the amounts of their premiums, and on the

12   customer’s cost of using providers, among other factors. Health plans in California compete by

13   offering their actual and potential members access to a provider network that includes hospitals
     providing Inpatient Hospital Services close to their homes or place of work.
14
            71.     There are no reasonable economic substitutes for the purchase of commercial health
15
     insurance by individuals or employees. Purchasers of commercial health insurance would pay a
16
     small, but significant, non-transitory increase in price for such insurance from a hypothetical (or
17
     actual) monopolist of such insurance.
18
            72.     Purchasing hospital services without commercial health insurance, rather than
19
     through a commercial health plan, is typically prohibitively expensive and is not a viable substitute
20
     for group or individual commercial health insurance.
21
            73.     Health plans purchase Inpatient Hospital Services for the benefit of their members
22
     and include contracted access to such services as part of the commercial health insurance that they
23   sell. Accordingly, the downstream market for the sale of commercial health insurance is inextricably
24   linked with the upstream market for the sale of Inpatient Hospital Services to health plans. The
25   following demonstrative shows the linked nature of the upstream market for the sale of Inpatient
26   Hospital Services to commercial health plans and the downstream market for the sale of commercial
27   health insurance.
28
     FOURTH AMENDED COMPLAINT                        -23-                             No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17     Page 26 of 44




                    ii.    RAs Are Relevant Geographic Markets for the Sale of Commercial Health
 1                         Insurance to Subscribers.
 2
            74.     The markets for the sale of commercial health insurance to subscribers are roughly
 3
     congruent with the boundaries of Geographic Rating Areas (“RAs”). The federal Affordable Care
 4
     Act (“ACA”) requires each state to define Geographic Rating Areas to be used uniformly by all
 5
     health plans in pricing individual and small group health insurance policies and health plans. PHSA
 6
     §2701 (a)(2). California RAs are areas defined by the California state legislature and are informed
 7
     by the California Department of Insurance (“DOI”) and the Center for Medicare & Medicaid
 8
     Services (“CMS”). In this case, there are nine independent relevant geographic markets for the sale
 9   of commercial health insurance to subscribers that are RA-wide.
10
            75.     All of the Inpatient Hospital Services markets relevant to this case fall within the
11
     relevant RAs. The geographic boundaries of the downstream markets for the sale of commercial
12
     insurance are broader than the geographic scope of upstream markets for the sale of Inpatient
13
     Hospital Services to health plans.
14
            76.     Health plans are required to apply a rating area factor specific to each RA in pricing
15
     premiums to its members. This is reflected in periodic rate filings made by health plans with the
16
     DOI and Department of Managed Health Care (“DMHC”) wherein health plans provide proposed
17
     changes to insurance premium rates by RA. See, e.g., DOI “Rate Filings by Company” page at
18
     https://interactive.web.insurance.ca.gov/apex/f?p=102:3:0::NO and DMHC “Rate Review Filings”
19
     page at http://wpso.dmhc.ca.gov/premiumratereview/searchratefilings.
20
            77.     A relevant geographic market for the sale of commercial health insurance to
21
     subscribers is RA 1. RA 1 includes Del Norte, Siskiyou, Modoc, Lassen, Shasta, Trinity,
22   Humboldt, Tehama, Plumas, Nevada, Sierra, Mendocino, Lake, Butte, Glenn, Sutter, Yuba, Colusa,
23   Amador, Calaveras, Tuolumne and Alpine counties. Due to California state law regarding the
24   setting of insurance rates, the overwhelming majority of consumers that reside and/or work in RA 1
25   can only purchase insurance sold by commercial health plans within RA 1. Consequently, a
26   hypothetical monopolist in the sale of commercial health insurance in RA 1 could profitably impose
27

28
     FOURTH AMENDED COMPLAINT                       -24-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB          Document 204         Filed 09/29/17     Page 27 of 44




 1   a small, but significant, increase in the price of commercial health insurance in RA 1 because

 2   consumers could not defeat the price increase by turning to outside options.

 3          78.     A relevant geographic market for the sale of commercial health insurance to

 4   subscribers is RA 2. RA 2 includes Napa, Sonoma, Solano and Marin counties. Due to California

 5   state law regarding the setting of insurance rates, the overwhelming majority of consumers that
     reside and/or work in RA 2 can only purchase insurance sold by commercial health plans within RA
 6
     2. Consequently, a hypothetical monopolist in the sale of commercial health insurance in RA 2
 7
     could profitably impose a small, but significant, increase in the price of commercial health insurance
 8
     in RA 2 because consumers could not defeat the price increase by turning to outside options.
 9
            79.     A relevant geographic market for the sale of commercial health insurance to
10
     subscribers is RA 3. RA 3 includes Sacramento, Placer, El Dorado and Yolo counties. Due to
11
     California state law regarding the setting of insurance rates, the overwhelming majority of
12
     consumers that reside and/or work in RA 3 can only purchase insurance sold by commercial health
13
     plans within RA 3. Consequently, a hypothetical monopolist in the sale of commercial health
14
     insurance in RA 3 could profitably impose a small, but significant, increase in the price of
15
     commercial health insurance in RA 3 because consumers could not defeat the price increase by
16
     turning to outside options.
17
            80.     A relevant geographic market for the sale of commercial health insurance to
18
     subscribers is RA 4. RA 4 includes San Francisco County. Due to California state law regarding
19
     the setting of insurance rates, the overwhelming majority of consumers that reside and/or work in
20
     RA 4 can only purchase insurance sold by commercial health plans within RA 4. Consequently, a
21   hypothetical monopolist in the sale of commercial health insurance in RA 4 could profitably impose
22   a small, but significant, increase in the price of commercial health insurance in RA 4 because
23   consumers could not defeat the price increase by turning to outside options.
24          81.     A relevant geographic market for the sale of commercial health insurance to
25   subscribers is RA 5. RA 5 includes Contra Costa County. Due to California state law regarding

26   the setting of insurance rates, the overwhelming majority of consumers that reside and/or work in

27   RA 5 can only purchase insurance sold by commercial health plans within RA 5. Consequently, a

28
     FOURTH AMENDED COMPLAINT                       -25-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB         Document 204          Filed 09/29/17    Page 28 of 44




 1   hypothetical monopolist in the sale of commercial health insurance in RA 5 could profitably impose

 2   a small, but significant, increase in the price of commercial health insurance in RA 5 because

 3   consumers could not defeat the price increase by turning to outside options.

 4          82.     A relevant geographic market for the sale of commercial health insurance to

 5   subscribers is RA 6.   RA 6 includes Alameda County. Due to California state law regarding the
     setting of insurance rates, the overwhelming majority of consumers that reside and/or work in RA 6
 6
     can only purchase insurance sold by commercial health plans within RA 6. Consequently, a
 7
     hypothetical monopolist in the sale of commercial health insurance in RA 6 could profitably impose
 8
     a small, but significant, increase in the price of commercial health insurance in RA 6 because
 9
     consumers could not defeat the price increase by turning to outside options.
10
            83.     A relevant geographic market for the sale of commercial health insurance to
11
     subscribers is RA 8. RA 8 includes San Mateo County. Due to California state law regarding the
12
     setting of insurance rates, the overwhelming majority of consumers that reside and/or work in RA 8
13
     can only purchase insurance sold by commercial health plans within RA 8. Consequently, a
14   hypothetical monopolist in the sale of commercial health insurance in RA 8 could profitably impose
15   a small, but significant, increase in the price of commercial health insurance in RA 8 because
16   consumers could not defeat the price increase by turning to outside options.
17          84.     A relevant geographic market for the sale of commercial health insurance to
18   subscribers is RA 9. RA 9 includes Santa Cruz County. Due to California state law regarding the
19   setting of insurance rates, the overwhelming majority of consumers that reside and/or work in RA 9

20   can only purchase insurance sold by commercial health plans within RA 9. Consequently, a

21   hypothetical monopolist in the sale of commercial health insurance in RA 9 could profitably impose

22   a small, but significant, increase in the price of commercial health insurance in RA 9 because

23   consumers could not defeat the price increase by turning to outside options.
            85.     A relevant geographic market for the sale of commercial health insurance to
24
     subscribers is RA 10. RA 10 includes Merced, San Joaquin, and Stanislaus counties. Due to
25
     California state law regarding the setting of insurance rates, the overwhelming majority of
26
     consumers that reside and/or work in RA 10 can only purchase insurance sold by commercial health
27
     plans within RA 10. Consequently, a hypothetical monopolist in the sale of commercial health
28
     FOURTH AMENDED COMPLAINT                       -26-                             No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 29 of 44




 1   insurance in RA 10 could profitably impose a small, but significant, increase in the price of

 2   commercial health insurance in RA 10 because consumers could not defeat the price increase by

 3   turning to outside options.

 4   VI.    MARKET POWER

 5          86.      Sutter possesses and exercises market power in each of the Tying Markets for

 6   Inpatient Hospital Services. This is demonstrated by the fact that Sutter wields a 100% share of
     inpatient discharges in seven of the eight Tying Markets based on publicly-available information
 7
     from the Office of Statewide Health Planning and Development (OSHPD)
 8
     (http://www.oshpd.ca.gov/). With respect to the Berkeley-Oakland HSAs, the eighth Tying Market,
 9
     Sutter wields an approximate 66.7% share of inpatient discharges. These shares and the costs of
10
     entry in these relevant markets -- costs that are substantially heightened by Sutter’s anticompetitive
11
     conduct -- demonstrate that Sutter has market power in the Tying Markets.
12
            87.      There is also direct evidence of Sutter’s market power in the Tying Markets. For
13
     example, the prices that Sutter charges for hospital services in each of these markets is substantially
14
     higher than the prices charged by hospital competitors in similarly-situated areas of Northern
15   California.
16          88.      In 2004, CalPERS, the largest pension fund in the United States, noted in its
17   Operations Summary (for the year ended June 30, 2004) that Sutter demanded 2005 rates at least
18   50% higher than other hospitals in its Northern California markets. CalPERS’ analysis was
19   corroborated by another analysis performed by Blue Cross of California on behalf of CalPERS in
20   2004. The analysis asks the question: How did the actual costs of claims of the many CalPERS plan

21   participants differ at Sutter hospitals versus non-Sutter hospitals? The answer stated that:

22                 The average cost of claims paid for CalPERS PPO Basic plan participants at
                   Sutter hospitals is 73% greater than the average cost of all other hospital
23                 claims paid on behalf of CalPERS PPO Basic plan participants in the State
                   of California.
24          89.      Moreover, CalPERS’ Health Benefits Committee observed the following regarding
25   Sutter’s prices: “Sutter Health is a huge outlier. Its costs are 60% higher than its Northern California
26   peers and 80% higher than the statewide average.” And an August 2010 analysis by Bloomberg also
27

28
     FOURTH AMENDED COMPLAINT                        -27-                             No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204           Filed 09/29/17   Page 30 of 44




 1   concluded that Sutter “has market power that commands prices 40 to 70 percent higher than its

 2   rivals per typical procedure — and pacts with insurers that keep those prices secret.”

 3          90.     In March 2011, The Los Angeles Times conducted an analysis of state records and

 4   similarly concluded that “on average, hospitals in Northern California’s six most populous counties

 5   collect 56% more revenue per patient per day from insurance companies and patients than hospitals

 6   in Southern California’s six largest counties.” Duke Helfand, Hospital Stays Cost More in Northern

 7   California than in Southern California, L.A. Times, Mar. 6, 2011, available at

 8   http://articles.latimes.com/2011/mar/06/business/la-fi-hospital-cost-20110306.

 9          91.     Sutter executives have acknowledged the huge pricing power that it has attained over
     health plans. In particular, Eugene Suksi, former CEO of Sutter Coast Hospital in Crescent City,
10
     California, noted that Sutter affiliated hospitals are able to charge 30% to 40% more than other
11
     hospitals, solely due to being part of the Sutter system. That is, a Sutter hospital can price at a 30%
12
     to 40% premium as compared to an identical non-Sutter hospital in the same location due to the
13
     challenged contracts and other anticompetitive conduct described herein.
14
            92.     A 2008 study from the FTC also verifies Sutter’s pricing power in the relevant
15
     Inpatient Hospital Services Markets. It considered that, within two years after Sutter merged
16
     Summit Hospital with its Alta-Bates hospital, Summit’s charges rose between 29% and 72% more
17
     per hospital procedure than its hospital peers.
18
            93.     Finally, Sutter’s ability to impose the subject tying arrangements, anti-steering
19   clauses, or supra-competitive rates upon health plans seeking to minimize medical costs, directly
20   evidences Sutter’s massive market power.
21   VII.   HARM TO COMPETITION
22          A.      Sutter Has Foreclosed Competition in Inpatient Hospital Services.
23          94.     Sutter’s conduct has harmed competition. In each of the Tied Markets, as a result of
24   Sutter’s conduct, Sutter hospitals offering Inpatient Hospital Services do not have to compete with
25   other hospitals for inclusion in commercial health plan networks. This has distorted the normal

26   competitive process -- a process that would have resulted in vastly different competitive outcomes

27   absent Sutter’s tying arrangements.

28
     FOURTH AMENDED COMPLAINT                          -28-                            No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17      Page 31 of 44




 1          95.     In each of the Tied Markets, Sutter’s conduct has caused hospitals that compete with

 2   Sutter to suffer substantial foreclosure, particularly by losing a substantial amount of patient-

 3   customers that they otherwise would have treated. In a world where Sutter’s tie would not force

 4   health plans to include Sutter facilities located in the Tied Markets in their networks, health plan

 5   members would have enjoyed greater financial incentives to visit non-Sutter hospitals. In that world,
     health plan members would incur substantial “out of pocket” costs if they chose to be treated at a
 6
     Sutter facility that was out of network. Many of these members would have chosen to seek medical
 7
     treatment at competitive non-Sutter facilities in the Tied Markets rather than pay these “out of
 8
     pocket” costs in a world absent Sutter’s anticompetitive conduct.
 9
            96.     Sutter’s anti-steering provisions, in addition to the foreclosing impact of the Sutter
10
     ties, have caused competitive hospitals in the Tied Markets to lose patient volume. As stated above,
11
     in a competitive market, health plans would not have been precluded from channeling, at least some
12
     (but far from all) of their patients, to lower-cost, quality network providers over Sutter. In this
13
     regard, Sutter’s forcing of these provisions upon health plans have harmed hospital competitors in
14
     the Tied Markets by causing quality non-Sutter providers to lose patient volume that they would
15
     have treated in a competitive market, notwithstanding that they charge much lower costs for
16
     Inpatient Hospital Services.
17
            97.     Indeed, if not for Sutter’s anticompetitive tying arrangements which force health
18
     plans to include higher-cost Sutter hospitals in their networks, health plans would have launched
19
     lower-cost “high performance” networks in the Tied Markets as they have elsewhere in the country.
20
     These high performance networks -- which would have not included higher cost, Sutter hospitals --
21   would have been used as the networks for members that purchased lower-priced insurance products.
22   Discovery in this matter has revealed that, but for Sutter’s anticompetitive conduct, health plans
23   would have launched a number of additional “tiered” or “limited” or “narrow” networks that would
24   have succeeded in steering to lower-cost non-Sutter facilities, resulting in lower insurance premiums.
25   Accordingly, but for Sutter’s anticompetitive conduct, a substantial amount of health plan members

26   would have frequented the lower-cost hospitals in high performance networks, as opposed to Sutter

27

28
     FOURTH AMENDED COMPLAINT                        -29-                               No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204          Filed 09/29/17     Page 32 of 44




 1   hospitals, and these lower-cost hospitals would have treated substantially more patients than they

 2   otherwise did. All of this foreclosure was caused by Sutter’s tying arrangements.

 3          98.     Sutter’s foreclosure of competition in the Tied Markets is likely to lead to Sutter’s

 4   accrual of market power in these markets, particularly when one considers the market shares of

 5   Inpatient Hospital Services that Sutter has already acquired. According to patient discharge data

 6   made available by OSHPD regarding Inpatient Hospital Services utilized in each Tied Market,

 7   Sutter, for example, currently accounts for an approximate 47% share in the Modesto HSA, 39% of

 8   the San Francisco HSA, and 37% of the Santa Rosa HSA.

 9          99.     Sutter’s tying arrangement and anti-steering provisions have also foreclosed
     substantial commerce in each of the Tying Markets for Inpatient Hospital Services. But for these
10
     provisions, hospitals would have much greater ability and incentive to open competitive facilities in
11
     the Tying Market. With these provisions in force -- provisions that ensure that patients are directed
12
     towards Sutter hospitals rather than any potential competitors -- the proposition for opening a
13
     competing hospital in these markets loses its viability. But for these provisions, it is likely that other
14
     hospital systems would have opened facilities in the Tying Markets.
15
            B.      Sutter’s Anticompetitive Conduct Has Raised Prices For Medical Care.
16
            100.    Sutter’s anticompetitive practices have also permitted Sutter to reap supra-
17
     competitive charges in both the Tying and Tied Markets.
18
            101.    The fact that the entire cost of medical procedures are opaque to patient-health plan
19
     members and that these costs are spread throughout a health plan’s member base exacerbates the
20
     anticompetitive impact of Sutter’s tying arrangement. Because consumers may choose any “in
21
     network” provider in a health plan for treatment (without paying any “out of pocket” costs other than
22
     co-insurance payments), some irreducible number of health plan members will choose a particular
23   network provider for treatment even if that provider is higher-priced. (This will occur, regardless of
24   whether anti-steering provisions, such as Sutter’s, are included in certain health plan contracts.)
25   Accordingly, a tying arrangement, such as those employed by Sutter, in and of itself causes higher
26   prices for medical services to be incurred by health plans.
27

28
     FOURTH AMENDED COMPLAINT                         -30-                              No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB            Document 204         Filed 09/29/17    Page 33 of 44




 1           102.      In each of the Tying Markets, these practices have facilitated supra-competitive prices

 2   by ensuring that Sutter’s hospital monopolies are not challenged. Moreover, the “all or nothing”

 3   provisions in the Sutter/health plan contracts ensure that all of the hospitals in the various Tying

 4   Markets are included in health plan networks even if those health plans would have otherwise

 5   chosen to not include them.
             103.      In each of the Tied Markets, Sutter’s anticompetitive practices have allowed Sutter to
 6
     charge supra-competitive rates for Inpatient Hospital Services through Sutter’s forcing power.
 7
     Sutter would not have been able to charge these rates in these markets without the tying
 8
     arrangements in question. The aforementioned July 2012 report by CALPIRG evidences how
 9
     Sutter’s forcing has caused higher prices for Inpatient Hospital Services. It states that:
10
                    In California, for example, Sutter Health has two dozen facilities in northern
11                  California, and it negotiates prices with insurers on an “all or none” basis.
                    In a city where Sutter Health represents a large share of the market it can
12                  command a higher price from insurers, and then by negotiating a
                    systemwide contract it can impose higher rates at all its hospitals.
13
     (Emphasis supplied).
14
             104.      The fact that Sutter’s economic forcing has caused higher Inpatient Hospital Services
15
     rates is also confirmed by the March 2011 article from the L.A. Times referenced above. It details
16
     statements by health plan executives that reference the byproduct of Sutter’s forcing: “Insurance
17
     companies say that Sutter Health’s size and dominant position in many local markets give it the
18
     upper hand in contract negotiations over prices and which of its hospitals are included in the
19
     insurers’ networks.” (Emphasis supplied).
20
             105.      The December 3, 2013 New York Times article referenced herein also confirmed that
21
     Sutter’s anticompetitive tactics has resulted in artificially high prices in the Tied Markets. It notes
22   that, for example, prices “for many procedures” at Sutter’s California Pacific Medical Center in San
23   Francisco “are among the top 20 percent in the country.” That article also notes that a substantial
24   hospital competitor of Sutter in San Francisco -- the University of California San Francisco --
25   “charges far less per day” for hospital services than Sutter does in San Francisco, particularly when
26   the greater severity of illnesses of patients is factored in.
27

28
     FOURTH AMENDED COMPLAINT                          -31-                             No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB             Document 204         Filed 09/29/17     Page 34 of 44




 1            106.      The referenced New York Times article also notes – by referring to comments by

 2   Professor Glenn Melnick of USC -- how Sutter’s higher prices have caused other hospitals in the

 3   relevant markets to increase prices for Inpatient Hospital Services. It states that the “high prices”

 4   that Sutter has charged “have had a ripple effect across Northern California, allowing smaller

 5   hospitals to charge more as well.” These higher prices -- permitted by virtue of the Sutter pricing
     umbrella -- have increased the prices for Inpatient Hospital Services purchased by commercial health
 6
     plans.
 7
              C.        Sutter Has Harmed the Quality of Patient Care.
 8
              107.      Sutter’s anticompetitive practices have also caused the quality of patient care to suffer
 9
     in the relevant market for Inpatient Hospital Services. As a result of these anticompetitive practices
10
     which force Sutter hospitals upon health plans, Sutter’s network does not compete on quality any
11
     more than it competes on price. Consequently, the quality of patient care that Sutter offers is not as
12
     high as it would have been in a market where Sutter had to compete for entry into health plan
13
     provider networks. This lack of a competitive impetus has led to, as stated by the California Health
14
     Care Coalition in an April 2005 report, a “quality of care [which] is a highly inconsistent within and
15   across Sutter facilities.”
16            108.      The California Health Care Coalition, indeed, went on to document the poor state of
17   patient care at various Sutter hospitals in that report. It stated that:
18                   Three of Sutter Health’s nine Bay Area hospitals have so seriously violated
                     national standards as to jeopardize either their participation in the Medicare
19                   or Medicaid programs or their accreditation as a health care organization.
                     Other data also show serious quality deficiencies: Sutter Health
20                   Sacramento’s General campus ranked in the bottom half of reporting
                     hospitals nationally on eight of ten hospital performance indicators
21                   developed by the Centers for Medicare and Medicaid services while Sutter
                     Health’s Memorial Hospital in Modesto has higher than expected mortality
22                   rates in 6 of 16 procedures analyzed.

23            D.        Plaintiffs and Class Members Have Been Overcharged for Health Insurance
                        Premiums and Out-of-Pocket Costs.
24
              109.      The higher costs for Inpatient Hospital Services that have been foisted upon health
25
     plans -- including Anthem Blue Cross, Aetna, Blue Shield, UnitedHealthcare and Health Net -- via
26
     Sutter’s distortions of competition have been passed downstream to employers and health plan
27
     members residing in the relevant downstream markets for commercial health insurance as part of the
28
     FOURTH AMENDED COMPLAINT                           -32-                              No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 35 of 44




 1   premiums that they pay for their health insurance products. Plaintiffs, in particular, have paid

 2   overcharges for the premiums that they paid for health insurance as a result of Sutter’s

 3   anticompetitive actions. Accordingly, plaintiffs and the Class members that they seek to represent

 4   have incurred antitrust injury.

 5           110.      In this regard, The L.A. Times identified in March 2011 that Aetna “charges
     customers in Northern California about 30% more in premiums than those in Southern California as
 6
     a result of higher hospital reimbursements in the north.” It also identified that Blue Shield “says it
 7
     charges up to 40% more for insurance in” Northern, as opposed to Southern California, due to the
 8
     higher medical costs that it pays for services in Northern California. As stated above, these health
 9
     and other plans have paid more for medical costs in Northern California than they do in Southern
10
     California because of Sutter’s anticompetitive conduct.
11
             111.      Indeed, Sutter’s monopolistic conduct has been successful, in part, due to the passing
12
     on of higher medical costs to employers and health plan members and the spreading of such higher
13
     costs to the entire health plan member base. As noted by Clark Havighurst and Barak Richman in
14   their paper, “The Provider Monopoly Problem in Health Care”:
15                  In health care, insurance puts the monopolist in an even stronger position by
                    greatly weakening the constraint on its pricing freedom ordinarily imposed
16                  by the limits of consumers’ willingness or ability to pay. . . . The
                    extraordinary profits that health insurance makes available to powerful
17                  sellers are earned mostly at the expense not of direct purchasers — insurers
                    or patients — but of consumers bearing the cost of insurance.
18
                    [H]ealth insurance enables a monopolist of a covered service to charge
19                  substantially more than the textbook “monopoly price,” thus earning even
                    more than the usual “monopoly profit.”
20
     Clark C. Havighurst & Barak D. Richman, “The Provider Monopoly Problem in Health Care,” 89
21
     OR. L. REV. 847, 862–63 (2011), available at
22
     http://scholarship.law.duke.edu/cgi/viewcontent.cgi?article=2905&context=faculty_scholarship.
23
             112.      Plaintiffs and Class members have also paid higher deductibles and co-payments for
24
     medical care from Sutter facilities as a result of Sutter’s anticompetitive conduct, causing additional
25
     antitrust injury.
26

27

28
     FOURTH AMENDED COMPLAINT                         -33-                             No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB            Document 204          Filed 09/29/17      Page 36 of 44




 1   VIII. CLASS ALLEGATIONS

 2          113.     Plaintiffs bring this action as a class action under Rule 23(b)(3) of the Federal Rules

 3   of Civil Procedure for violations of Section 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2, the

 4   Cartwright Act, Cal. Bus. & Prof. Code § 16720, et seq., and California’s Unfair Competition Law,

 5   Cal. Bus. & Prof. Code § 17200, et seq. The Rule(b)(3) Class is comprised of the following:
                   Any individual or entity in the nine relevant commercial health insurance
 6                 markets who, during all or part of the period beginning September 17, 2008
                   to the present, paid some portion of premiums for a fully-insured product
 7                 offered by Anthem, Blue Cross, Aetna, Blue Shield, UnitedHealthcare, or
                   Health Net.
 8

 9          114.     Excluded from this Class, are Sutter, its subsidiaries, affiliates, officers, directors,

10   employees, legal representatives, heirs or assigns, and co-conspirators. Also excluded are any

11   federal governmental entities, any judicial officers presiding over this action and the members of his
     or her immediate family and judicial staff, and any juror assigned to this action.
12
            115.     Subject to additional information obtained through further investigation, this class
13
     definition may be expanded or narrowed by amendment.
14
            116.     Plaintiffs also bring this action under Rule 23(b)(2) for the same violations of federal
15
     and state law alleged for the (b)(3) Class. The Rule 23(b)(2) Class includes all members of the Rule
16
     (b)(3) Class, and all consumers who are threatened with injury by the violations alleged herein.
17
            117.     Sutter has acted, continues to act, refuses to act and continues to refuse to act on
18
     grounds generally applicable to the Rule (b)(2) Class, thereby making appropriate final injunctive
19
     relief with respect to the Rule (b)(2) Class as a whole. The Rule (b)(2) Class does not include
20
     defendants or their co-conspirators.
21
            118.     Members of the Class are so numerous and geographically dispersed that joinder is
22
     impracticable. While the exact number of Class members is unknown to plaintiffs, it is believed to
23
     be in the hundreds of thousands. Furthermore, the Class is readily identifiable from information and
24   records in Sutter’s and commercial health insurers’ possession.
25          119.     Questions of law and fact common to members of the Class predominate over
26   questions that may affect only individual Class members because Sutter has acted on grounds
27   generally applicable to the Class. Among the common questions of fact are:
28
     FOURTH AMENDED COMPLAINT                          -34-                               No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204         Filed 09/29/17     Page 37 of 44




                    i.      whether Sutter entered into tying arrangements that unreasonably restrain
 1                          trade in the relevant markets for the sale of Inpatient Hospital Services to
 2                          commercial health plans;

 3                  ii.     whether Sutter tied the purchase by health plans of Inpatient Hospital Services
                            supplied by Sutter in the Tying Markets to the purchase of Inpatient Hospital
 4                          Services supplied by Sutter in the Tied Markets;
 5                  iii.    whether Sutter willfully established, maintained and extended unlawful
                            monopolies in the relevant markets;
 6

 7                  iv.     the existence and duration of Sutter’s anticompetitive conduct;

 8                  v.      whether Sutter’s anticompetitive conduct foreclosed competition in the
                            relevant markets;
 9
                    vi.     whether Sutter’s anticompetitive conduct caused insurance premiums and/or
10                          co-insurance payment to be higher than they would have been but for its
                            conduct; and
11
                    vii.    whether plaintiffs and other Class members have been harmed by higher
12
                            insurance premiums and/or co-insurance payments as a result of Sutter’s
13                          conduct, and, if so, the quantum of such damages.

14          120.    Sutter’s anticompetitive conduct resulted in artificially inflated prices for Inpatient

15   Hospital Services, which impacted all members of the Class in the form of higher premiums and co-

16   insurance payments.

17          121.    Plaintiffs are members of the Class and plaintiffs’ claims are typical of the claims of

18   the members of the Class. Plaintiffs and all Class members were damaged by the same conduct, i.e.,
     they all paid artificially inflated insurance premiums and co-insurance payments.
19
            122.    Plaintiffs have no conflict of interest with Class members. Counsel competent and
20
     experienced in federal class action and antitrust litigation has been retained to represent the Class.
21
            123.    A class action is superior to any other method for the fair and efficient adjudication of
22
     this matter. Joinder of all members is not practicable. The damages suffered by individual members
23
     are small in relation to the expense and burden of individual litigation and therefore it is highly
24
     impractical for Class members to seek redress on an individual basis for Sutter’s wrongful conduct.
25
     Class treatment will permit a large number of similarly situated persons or entities to prosecute their
26
     claims in a single forum simultaneously, efficiently, and without the unnecessary duplication of
27
     evidence, effort, and expense that numerous individual actions would produce.
28
     FOURTH AMENDED COMPLAINT                        -35-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204          Filed 09/29/17     Page 38 of 44




 1   IX.    CLAIMS FOR RELIEF

 2          A.       First Claim – Section 1 Unlawful Tying (Per Se or Rule of Reason)

 3          124.     Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set

 4   forth herein.

 5          125.     Sutter has continually engaged in unlawful contracts and agreements in unreasonable

 6   restraint of interstate trade and commerce, in violation of Section 1 of the Sherman Act, 15 U.S.C. §

 7   1, including forced and coerced contracts and agreements with commercial health plans forcing them

 8   to include all, or no, Sutter hospitals in their networks.

 9          126.     These contracts and agreements have consisted of forced arrangements with health

10   plans, the substantial terms of which have been to condition the inclusion of any Inpatient Hospital

11   Services that Sutter has supplied in the Tying Markets, on the inclusion of the separate, distinct and
     higher-priced Inpatient Hospital Services that Sutter has supplied in the Tied Markets.
12
            127.     At all times Sutter has had market power to force insurers to include Sutter hospitals
13
     in the Tying Markets and Tied Markets in their networks.
14
            128.     The continued use of Sutter’s tying arrangements achieves no legitimate efficiency
15
     benefits to counterbalance their demonstrated anticompetitive effects, including the foreclosure of
16
     competition from non-Sutter hospitals.
17
            129.     Commercial health plans were forced to purchase and include in their networks Sutter
18
     Inpatient Hospital Services at supra-competitive prices.
19
            130.     The ability of health plans to have their members utilize lower-cost non-Sutter
20
     Inpatient Hospital Services has been foreclosed by the subject tying arrangements.
21          131.     The ability of non-Sutter hospitals to compete effectively with Sutter, on the merits,
22   has been substantially reduced, limited and foreclosed by the subject tying arrangements.
23          132.     As a result of Sutter’s violation of Section 1, plaintiffs and Class members have been
24   injured in their business and property in an amount not presently known with precision but which is,
25   at minimum, hundreds of millions of dollars prior to trebling.

26

27

28
     FOURTH AMENDED COMPLAINT                         -36-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204          Filed 09/29/17     Page 39 of 44




 1          B.       Second Claim – Section 1 Course of Conduct

 2          133.     Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set

 3   forth herein.

 4          134.     Sutter has continually engaged in unlawful contracts and agreements in unreasonable
     restraint of interstate trade and commerce, in violation of Section 1 of the Sherman Act, 15 U.S.C. §
 5
     1, including forced and coerced contracts and agreements with commercial health plans (i) tying the
 6
     purchase of Inpatient Hospital Services supplied by Sutter in the Tying Markets to Inpatient Hospital
 7
     Services supplied by Sutter in the Tied Markets, and (ii) preventing health plans from steering
 8
     members away from higher-priced Sutter hospitals and/or requiring health plans to steer their
 9
     members to higher-priced Sutter hospitals, and imposing financial penalties for failing to do same.
10
     These and other referenced anti-steering provisions reinforce and exacerbate the effects of Sutter’s
11
     tying arrangements.
12
            135.     At all times Sutter has had market power to force health plans to (i) forego steering
13
     patients away from lower-priced hospitals, and/or steer to higher-priced Sutter hospitals and (ii)
14   succumb to its tying arrangements.
15          136.     The continued use of the anti-steering provisions, in addition to Sutter’s tying
16   arrangements, achieves no legitimate efficiency benefits to counterbalance their demonstrated
17   anticompetitive effects, including the foreclosure of competition from non-Sutter hospitals.
18          137.     The commercial insurers were forced to steer their members to higher-priced Sutter
19   hospitals and/or prevented from steering to lower-priced hospitals, which, in conjunction with

20   Sutter’s tying arrangement, raised the prices of Sutter Inpatient Hospital Services to supra-

21   competitive levels. The ability of health plans to have their members utilize lower-cost, non-Sutter

22   Inpatient Hospital Services has been foreclosed.

23          138.     The ability of non-Sutter hospitals to compete effectively with Sutter, on the merits,
     has been substantially reduced, limited and foreclosed.
24
            139.     As a result of Sutter’s violation of Section 1, plaintiffs and Class members have been
25
     injured in their business and property in an amount not presently known with precision but which is,
26
     at minimum, hundreds of millions of dollars prior to trebling.
27

28
     FOURTH AMENDED COMPLAINT                         -37-                              No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204           Filed 09/29/17    Page 40 of 44




 1           C.      Third Claim – Violation of the Cartwright Act

 2           140.    Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set

 3   forth herein.

 4           141.    Sutter has continually engaged in an unlawful contracts and agreements in
     unreasonable restraint of interstate trade and commerce, in violation of the Cartwright Act, including
 5
     forced and coerced contracts and agreements with commercial health plans requiring them to include
 6
     all, or no, Sutter hospitals in their networks.
 7
             142.    The contracts have consisted of forced agreements with commercial health plans, the
 8
     substantial terms of which have been to condition the inclusion of any Inpatient Hospital Services
 9
     supplied by Sutter in the Tying Markets, on the inclusion of separate and distinct Inpatient Hospital
10
     Services supplied by Sutter in the Tied Markets.
11
             143.    At all times Sutter has had substantial market power to force health plans to include
12
     in their networks Sutter’s Inpatient Hospital Services in the Tying Markets and Tied Markets.
13
             144.    Sutter’s conduct has also consisted of the imposition, in addition to the tying
14   arrangement, of anti-steering provisions in certain health plan contracts that preclude health plans
15   from steering patients to lower-cost hospital options.
16           145.    The tying arrangements imposed by Sutter have caused substantial anticompetitive
17   impact. The anticompetitive impacts of Sutter’s tying arrangements have been reinforced and
18   exacerbated by the anti-steering provisions that Sutter has imposed upon commercial health insurers.
19           146.    Commercial health plans, by virtue of Sutter’s conduct, have been forced to include

20   in their networks Sutter Inpatient Hospital Services at supra-competitive prices and to pay higher

21   prices for Sutter’s Inpatient Hospital Services. Those higher prices were then passed on to plaintiffs

22   and Class members.

23           147.    Sutter has also, as described below, maintained its monopolies in the relevant Tying
     Markets and attempted to monopolize the relevant Tied Markets by virtue of its exclusionary
24
     conduct in violation of the Cartwright Act.
25
             148.    The ability of health plans to have their members utilize lower-cost non-Sutter
26
     Inpatient Hospital Services has been foreclosed.
27

28
     FOURTH AMENDED COMPLAINT                          -38-                             No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB           Document 204          Filed 09/29/17     Page 41 of 44




 1          149.     The ability of non-Sutter hospitals to compete effectively with Sutter on the merits

 2   has been substantially reduced, limited and foreclosed by Sutter’s tying arrangements.

 3          150.     Sutter’s actions achieve no legitimate efficiency benefits to counterbalance their

 4   demonstrated anticompetitive effects, including the foreclosure of competition from non-Sutter

 5   hospitals.
            151.     As a result of Sutter’s violation of the Cartwright Act, plaintiffs and Class members
 6
     have been injured in their business and property in an amount not presently known with precision
 7
     but which is, at minimum, hundreds of millions of dollars prior to trebling.
 8
            D.       Fourth Claim – Section 2 Monopolization
 9
            152.     Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set
10
     forth herein.
11
            153.     In violation of Section 2 of the Sherman Act, 15, U.S.C. § 2, Sutter has acquired,
12
     enhanced and maintained its monopoly power over Inpatient Hospital Services in the Tying Markets.
13
            154.     Sutter’s monopolization of the Tying Markets has been effectuated by overt
14   exclusionary acts, including forcing acceptance of its “all or nothing” terms upon health plans and
15   forcing health plans to steer patients to higher-priced Sutter hospitals and/or prevent health plans
16   from steering to lower-priced non-Sutter hospitals upon threat of financial penalties.
17          155.     Sutter has had monopoly power in the Tying Markets. Sutter has power over the
18   price of Inpatient Hospital Services and the ability to foreclose hospital competition substantially in
19   these markets. At all times relevant to this action, Sutter has had monopoly power to force insurers

20   to include in their networks all Sutter hospitals and steer patients to them. Sutter also has dominant

21   market shares in the relevant markets.

22          156.     Sutter’s exclusionary practices achieve no legitimate efficiency benefits to

23   counterbalance their demonstrated anticompetitive effects, including the foreclosure of competition
     from non-Sutter hospitals.
24
            157.     Health plans were forced to purchase and include in their networks Sutter Inpatient
25
     Hospital Services at supra-competitive prices. Sutter’s exclusionary conduct has foreclosed hospital
26
     competition in the Tying Markets.
27

28
     FOURTH AMENDED COMPLAINT                         -39-                              No. 3:12-cv-4854-LB
        Case 3:12-cv-04854-LB          Document 204          Filed 09/29/17     Page 42 of 44




 1           158.    As a result of Sutter’s violation of Section 2, plaintiffs and Class members have been

 2   injured in their business and property in an amount not presently known with precision but which is,

 3   at minimum, hundreds of millions of dollars prior to trebling.

 4           E.      Fifth Claim – Section 2 Attempted Monopolization
             159.    Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set
 5
     forth herein.
 6
             160.    In violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, Sutter has willfully,
 7
     knowingly and with specific intent to do so, attempted to monopolize the Tied Markets.
 8
             161.    This attempt to monopolize the Tied Markets has been effectuated by overt
 9
     exclusionary acts, including forcing acceptance of its “all or nothing” terms upon health plans and
10
     forcing health plans to steer patients away from lower-priced hospitals to higher-priced Sutter
11
     hospitals and/or preventing health plans from steering to lower-priced hospitals upon threat of
12
     financial penalties.
13
             162.    There exists a dangerous probability that Sutter will monopolize the Tied Markets as
14   a result of these overt acts.
15           163.    Sutter’s exclusionary practices achieve no legitimate efficiency benefits to
16   counterbalance their demonstrated anticompetitive effects, including the foreclosure of competition
17   from non-Sutter hospitals.
18           164.    Health plans were forced to purchase and include in their networks Sutter Inpatient
19   Hospital Services at supra-competitive prices.

20           165.    Sutter’s exclusionary conduct has foreclosed hospital competition in the Tied

21   Markets.

22           166.    As a result of Sutter’s violation of Section 2, plaintiffs and Class members have been

23   injured in their business and property in an amount not presently known with precision but which is,
     at minimum, hundreds of millions of dollars prior to trebling.
24
             F.      Sixth Claim -- Violation of California Unfair Competition Law (“UCL”) Section
25                   17200
26
             167.    Plaintiffs repeat and reallege each and every allegation of this complaint as if fully set
27
     forth herein.
28
     FOURTH AMENDED COMPLAINT                         -40-                              No. 3:12-cv-4854-LB
          Case 3:12-cv-04854-LB         Document 204         Filed 09/29/17     Page 43 of 44




 1           168.   Sutter has engaged in unlawful business acts or practices within the meaning of

 2   Section 17200 of the UCL, including forcing upon commercial insurers contract provisions that

 3   require them to include all, or no, Sutter hospitals in their networks, and steer patients to Sutter

 4   hospitals and/or refrain from steering to lower-cost hospitals upon threat of financial penalties. Such

 5   conduct is ongoing and continues to date.
             169.   Sutter’s unfair business practices cause substantial economic injury to plaintiffs and
 6
     Class members in an amount not presently known with precision but which is, at minimum,
 7
     hundreds of millions of dollars.
 8
             170.   Such unlawful or unfair business practices are continuing and will continue unless
 9
     relief enjoining these practices is granted under Section 17204 of the UCL. Plaintiffs and Class
10
     members have no adequate remedy at law.
11
     X.      PRAYER FOR RELIEF
12
     WHEREFORE, the Class requests the following relief:
13
                    i.      That the Court declare, adjudge and decree that defendants have committed
14                          the violations of the Sherman Act, Cartwright Act and the UCL alleged
                            herein;
15
                    ii.     That the Court determine that plaintiffs’ Sherman Act, Cartwright Act and
16                          the UCL claims may be maintained as a class action under Rule 23(a) and
                            (b)(2)-(3) of the Federal Rules of Civil Procedure;
17                  iii.    That Sutter, its affiliates, successors, transferees, assignees, and the officers,
18                          directors, partners, agents and employees thereof, and all other persons
                            acting or claiming to act on their behalf or in concert with them, be
19                          permanently enjoined and restrained from in any manner continuing,
                            maintaining, or renewing the conduct alleged herein, or conduct having a
20                          similar purpose or effect;
21                  iv.     That the Court enter an order enjoining Sutter from continuing to implement
                            its “all or nothing” terms, and tying and anti-steering arrangements, or
22                          contracts or agreements having a similar purpose or effect alleged herein;
23                  v.      That Sutter provide Class members, in an amount to be proven at trial, to be
                            trebled according to law, plus interest -- including prejudgment interest -- to
24                          compensate them for the overcharges they incurred from Sutter’s violations
                            of California antitrust law;
25
                    vi.     That Sutter provide Class members with restitution for the overcharges that
26                          were extracted by violating the California Unfair Competition Law;
27                  vii.    That plaintiffs and Class members recover their cost of suit, and such other
                            and further relief as this Court may deem just and proper.
28
     FOURTH AMENDED COMPLAINT                         -41-                               No. 3:12-cv-4854-LB
       Case 3:12-cv-04854-LB         Document 204      Filed 09/29/17     Page 44 of 44




 1   XI.   DEMAND FOR JURY TRIAL

 2         Plaintiffs demand a trial by jury.

 3   DATED: September 29, 2017                         /s/ MATTHEW L. CANTOR
                                                       MATTHEW L. CANTOR (admitted phv)
 4                                                     JEAN KIM (admitted phv)
                                                       ROSA M. MORALES (admitted phv)
 5                                                     CONSTANTINE CANNON LLP
                                                       335 Madison Avenue
 6                                                     New York, NY 10017
                                                       (212) 350-2738
 7                                                     (212) 350-2701 (fax)
                                                       mcantor@constantinecanon.com
 8                                                     jkim@constantinecannon.com
                                                       rmorales@constantinecannon.com
 9
                                                       Lead Counsel for Plaintiffs
10
                                                       AZRA Z. MEHDI (220406)
11
                                                       One Market
12                                                     Spear Tower, Suite 3600
                                                       San Francisco, CA 94105
13                                                     (415) 293-8039
                                                       (415) 293-8001 (fax)
14                                                     azram@themehdifirm.com
15
                                                       Co-Lead Counsel for Plaintiffs
16
                                                       DAVID C. BROWNSTEIN (141929)
17                                                     FARMER BROWNSTEIN JAEGER LLP
                                                       235 Pine Street, Suite 1300
18                                                     San Francisco, CA 94104
19                                                     (415) 795-2050
                                                       (415) 520-5678 (fax)
20                                                     dbrownstein@fbj-law.com

21                                                     ALLAN STEYER (100318)
                                                       D. SCOTT MACRAE (104663)
22                                                     JILL MANNING (178849)
                                                       STEYER LOWENTHAL BOODROOKAS
23                                                     ALVAREZ & SMITH LLP
24                                                     One California Street, Third Floor
                                                       San Francisco, CA 94111
25                                                     (415) 421-3400
                                                       (415) 421-2234 (fax)
26                                                     asteyer@steyerlaw.com
27                                                     Additional Co-Lead Counsel for Plaintiffs
28
     FOURTH AMENDED COMPLAINT                   -42-                             No. 3:12-cv-4854-LB
